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      Edward E. Leamer, Ph.D.
         October 1, 2012

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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                           SAN JOSE DIVISION

                  CONFIDENTIAL – TO BE FILED UNDER SEAL
                      SUBJECT TO PROTECTIVE ORDER




IN RE: HIGH-TECH EMPLOYEES ANTITRUST          No. 11-CV-2509-LHK
LITIGATION




_____________________________________

THIS DOCUMENT RELATES TO:


ALL ACTIONS




                EXPERT REPORT OF EDWARD E. LEAMER, PH.D.




                               October 1, 2012




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I.        Experience and Qualifications
     1.      I am the Chauncey J. Medberry Professor of Management, Professor of
             Economics and Professor of Statistics at the University of California at Los
             Angeles. I earned a B.A. degree in Mathematics from Princeton University in
             1966, and a Masters in Mathematics and a Ph.D. degree in Economics at the
             University of Michigan in 1970. I was an Assistant and Associate Professor of
             Economics at Harvard University from 1970 to 1975, and joined the Economics
             Department at UCLA in 1975 as a Full Professor. I served as Chair of the
             Department of Economics from 1983 to 1987 and Area Head of Business
             Economics from 1990 to 1993. I had a tenured appointment in the Economics
             Department at Yale University in 1995 and I have been a Visiting Professor at
             several universities, including the University of Chicago. I have been a Guest
             Professor at the University of Basel in Switzerland, at the Central European
             University in Prague, Czech Republic, at the Institute for Advanced Studies in
             Vienna, Austria, and at the Universidad de San Andreas in Buenos Aires,
             Argentina. I have served as the Director of the UCLA Anderson Forecast since
             2000 and Chief Economist of the Ceridian-UCLA Pulse of Commerce Index
             from 2010-2012.

     2.      I have published extensively in the fields of econometric methodology and
             statistical analysis, in international economics, and in macro-economic
             forecasting. I have written five books and over 90 academic articles, many of
             which deal with the subject of inferences that may appropriately be drawn from
             non-experimental data. My academic research in econometrics and international
             economics has been profiled in New Horizons in Economic Thought,
             Appraisals of Leading Economists, edited by Warren Samuels. My papers in
             econometrics have been republished in a volume in the Edward Elgar Series:
             Economists of the 20th Century. My research has been funded by the
             National Science Foundation, the Ford Foundation, the Sloan Foundation, and
             the Russell Sage Foundation.

     3.      I am an elected Fellow of two of the most important honorific societies in my
             field: the American Academy of Arts and Sciences and the Econometric Society.
             I have been a consultant for the Federal Reserve Board of Governors, the
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               Department of Labor, the Department of Energy, the International Monetary
               Fund, the World Bank, the Inter-American Development Bank, and the
               Treasury of New Zealand. I have been a visiting scholar with the Federal
               Reserve Board and the International Monetary Fund. I have served as an expert
               in a variety of matters dealing with issues of interpretation of data.

      4.       My curriculum vita is incorporated in this report as Exhibit 1. My testimonial
               experience is incorporated in this report as Exhibit 2. My hourly rate for time
               spent working on this matter is $650.

      5.       I have in this report relied on the best information available to me at the time of
               its preparation. A list of documents on which I relied in the preparation of this
               report is provided in Exhibit 3. I understand that discovery in this matter is
               ongoing and that Defendants or third parties may produce additional
               information that has a bearing on my analysis. I reserve the right to supplement
               or amend my conclusions as necessary in light of such additional information.

II.        Introduction, Assignment, and Summary of Conclusions
      6.       The defendants in this matter are a group of well-known high-tech firms,
               namely Adobe, Apple, Google, Intel, Intuit, Lucasfilm, and Pixar
               (“Defendants”).1

      7.       The Plaintiffs’ Amended Complaint2 alleges that the Defendants agreed to limit
               or eliminate competition for workers amongst each other by refraining from


1 Adobe Systems Inc. (“Adobe”) is a Delaware corporation with its principal place of business located at 345

Park Avenue, San Jose, California 95110, Apple Inc. (“Apple”) is a California corporation with its principal
place of business located at 1 Infinite Loop, Cupertino, California 95014, Google Inc. (“Google”) is a
Delaware corporation with its principal place of business located at 1600 Amphitheatre Parkway, Mountain
View, California 94043, Intel Corp. (“Intel”) is a Delaware corporation with its principal place of business
located at 2200 Mission College Boulevard, Santa Clara, California 95054, Intuit Inc. (“Intuit”) is a Delaware
corporation with its principal place of business located at 2632 Marine Way, Mountain View, California
94043, Lucasfilm Ltd. (“Lucasfilm”) is a California corporation with its principal place of business located at
1110 Gorgas Ave., in San Francisco, California 94129, and Pixar is a California corporation with its principal
place of business located at 1200 Park Avenue, Emeryville, California 94608.
2 Re: High-Tech Employee Antitrust Litigation, Consolidated Amended Complaint, September 2, 2011

(Consolidated Amended Complaint).

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               contacting each others’ employees to explore job offers (“Cold-Calling”3),
               limiting their actions in negotiating with their workers, and other restrictions.
               This was accomplished by means of a collection of express bilateral agreements
               among the Defendants. I will refer to these agreements, individually and
               collectively, as the “Non-Compete Agreements,” or as the “Agreements.”

         8.    I understand that the Plaintiffs are seeking certification of the following class of
               employees (the “All-Salaried Employee Class,” or, the “All-Employee Class”):

                         All natural persons employed on a salaried basis (“salaried employees”)
                         in the United States by one or more of the following: (a) Apple from
                         May 2005 through December 2009; (b) Adobe from May 2005 through
                         December 2009; (c) Google from March 2005 through December
                         2009; (d) Intel from March 2005 through December 2009; (e) Intuit
                         from June 2007 through December 2009; (f) Lucasfilm from January
                         2005 through December 2009; or (g) Pixar from January 2005 through
                         December 2009. Excluded from the All-Employee Class are: retail
                         employees; corporate officers, members of the boards of directors, and
                         senior executives of all Defendants.

         9.    I also understand that the Plaintiffs are seeking certification, in the alternative,
               of the following alternate class of employees (the “Technical, Creative, and
               Research & Development Class,” or, the “Technical Employee Class”):

                         All natural persons employed on a salaried basis who work in the
                         creative, research & development, and/or technical fields,4 in the
                         United States by one or more of the following: (a) Apple from May
                         2005 through December 2009; (b) Adobe from May 2005 through
                         December 2009; (c) Google from March 2005 through December
                         2009; (d) Intel from March 2005 through December 2009; (e) Intuit


3 “Cold-Calling” refers to communicating directly in any manner (including orally, in writing, telephonically,

or electronically) with another firm’s employee who has not otherwise applied for a job opening.
4 See Appendix B for a description of how I determined the members of the Technical and Creative Alternate

Class.

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                   from June 2007 through December 2009; (f) Lucasfilm from January
                   2005 through December 2009; or (g) Pixar from January 2005 through
                   December 2009. Excluded from the Technical Employee Class are:
                   retail employees; corporate officers, members of the boards of
                   directors, and senior executives of all Defendants.

    10.   I have been asked to analyze the following questions with regard to the All-
          Employee Class and Technical Employee Class defined above:

                   (a) Is there proof common to each proposed class
                   capable of showing that the Non-Compete Agreements
                   artificially reduced the competition of its members? In
                   order to answer this question, I have been asked to
                   evaluate whether evidence common to each class is
                   capable of showing that the Non-Competition
                   Agreements artificially reduced the compensation of: (i)
                   members of each class generally; and (ii) all or most
                   members of each class?

                   (b) Is there a reliable Class-wide or formulaic method
                   capable of quantifying the amount of suppressed
                   compensation suffered by each class?

    11.   Based upon my work to date, I have reached the following conclusions:

                   (a) There is evidence common to the All-Employee Class
                   and Technical Employee Class, respectively, capable of
                   showing that the Non-Compete Agreements
                   systematically reduced the compensation of the members
                   of each class. Specifically, and as explained in the body
                   of this report, I have concluded that evidence and
                   economic analyses applicable to each class as a whole are
                   capable of showing that compensation to the All-
                   Employee Class and Technical Employee Class was
                   artificially suppressed generally due to the Non-Compete
                   Agreements.



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                 (b) Classwide evidence capable of showing artificial
                 generalized compensation suppression due to the
                 agreements falls into three categories: (1) labor
                 economic studies and theory explaining that by
                 reducing or eliminating Cold-Calling and other active
                 competition over employees, the Agreements were likely
                 to have depressed compensation because they impair
                 information flow about compensation and job offers,
                 reduce negotiating leverage of employees, and minimize
                 movement of employees between firms; (2) documents
                 from Defendants’ files showing the link between
                 “Cold-Calling” and increased compensation; and (3)
                 multiple regression analyses, utilizing Defendants’
                 internal compensation and other data, showing that the
                 Agreements artificially suppressed compensation at each
                 Defendant.

                 (c) I have further found that evidence and economic
                 analysis applicable to each class as a whole are capable of
                 showing that all or nearly all members of the All-
                 Employee Class and Technical Employee Class had their
                 compensation suppressed due to the Agreements. Such
                 classwide evidence falls into three categories: (1)
                 economic studies and theory, especially regarding the
                 interest of firms in preserving “internal equity,”
                 demonstrating that the adverse effects on compensation
                 due to a poaching ban would be felt not just by those
                 who would have been poached, but by employees more
                 generally due to the needs of firms to maintain a salary
                 structure; (2) documentary evidence from Defendants’
                 files showing Defendants’ own concerns about
                 preserving internal equity, as well as other documentary
                 evidence; and (3) statistical evidence, including a multiple
                 regression analysis, showing that All-Employee Class and
                 Technical Employee Class member compensation at any
                 point in time is governed largely by common factors.
                 What this analysis means is that any generalized
                 suppression of compensation due to the Agreements
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                        would be experienced by all or nearly all members of the
                        All-Employee Class and Technical Employee Class.

                        (d) Finally, I have concluded that standard economic
                        methods are capable of reliably quantifying the aggregate
                        amount of reduced compensation caused by the
                        Agreements to the All-Employee Class and Technical
                        Employee Class, respectively.

       12.     The analyses described in this report are performed for the purpose of
               demonstrating the availability of proof and statistical methodologies common to
               members of the All-Employee Class and the Technical Employee Class capable
               of showing that members of each class suffered suppressed compensation due
               to the Agreements, and capable of quantifying that harm. I understand that
               discovery has not yet been completed and that further evidence might emerge
               that is relevant to my analysis. I reserve the right to consider any such evidence
               and its impact, if any, on the analysis I have proposed.

III.    Case and Background

             A. Defendants
       13.     Adobe, founded in 1982, is a technology company with its headquarters in San
               Jose, California.5 Adobe is well known for a number of software products
               including Acrobat, Photoshop, and Illustrator. It is also known for its Flash
               media platform which it acquired in late 2005 as part of its acquisition of
               Macromedia, which had been the publisher of Dreamweaver and the Flash
               media platform.6 In its 2009 fiscal year, Adobe had nearly $3 billion in
               revenues.7



5 Adobe, “Corporate Overview,”   http://www.adobe.com/aboutadobe/pressroom/pdfs/profile.pdf.
6 Adobe, “Adobe completes acquisition of Macromedia,”

http://www.adobe.com/aboutadobe/invrelations/adobeandmacromedia_faq.html.
7 Adobe Systems Incorporated, “2009 Form 10-K,” January 22, 2010 at pp.52.



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       14.    Apple, founded in 1976, is a technology company that is headquartered in
              Cupertino, California.8 The company is a market leader in several consumer
              electronics market segments with its iPad, iPhone, and iPod product lines.9
              Apple has been a leader in the digital music distribution market with its iTunes
              service.10 Apple’s 2011 total revenues exceeded $108 billion.11

       15.    Google, founded in 1998, is a technology company headquartered in Mountain
              View, California.12 The company is the leading internet search provider.13 The
              company went public in 2004. Google’s revenues reached nearly $38 billion in
              2011.14

       16.    Intel is a technology company, headquartered in Santa Clara, California. The
              company was founded in 1968 and is the world’s largest semiconductor chip
              maker.15 Intel is most well known for its x86 series of microprocessors, found in
              most personal computers today16 but the company also markets other integrated




8 Time, “Top 10 Apple Moments,”

http://www.time.com/time/specials/packages/article/0,28804,1873486_1873491_1873530,00.html.
9 Reuters,“Company Profile for Apple Inc,”
http://in.reuters.com/finance/stocks/companyProfile?symbol=AAPL.O.
10 Whitney, Lance,“ iTunes reps 1 in every 4 songs sold in U.S,” CNET News, August 18, 2009,

http://news.cnet.com/8301-13579_3-10311907-37.html.
11 Apple Inc., “2011 Form 10-K,” October 26, 2011 at pp.24.


12 Google, “Our history in depth,” http://www.google.com/about/company/history/.


13 Google, “Google Launches World’s Largest Search Engine,” June 26, 2000, McGee, Matt, “Google Still

No. 1 Search Engine On Earth,” Searchengineland, August 31, 2009 and Google Inc., “2010 Annual Report,”
February 11, 2011 at p.25.
14 Google, “2012 Financial Tables – Investor Relations – Google,”

http://investor.google.com/financial/tables.html.
15 Intel, “Intel Company Information,” http://www.intel.com/content/www/us/en/company-

overview/company-facts.html.
16 Edwards, Benj, “Birth of a Standard: The Intel 8086 Microprocessor,” PCWorld, June 16, 2008,

http://www.pcworld.com/article/146957-3/birth_of_a_standard_the_intel_8086_microprocessor.html.

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               circuits and devices related to communications and computing.17 Intel had
               revenue of $54 billion in 2011.18

      17.      Intuit is a technology company, headquartered in Mountain View, California.19
               The company was founded in 1983 and is known for its QuickBooks, Quicken
               and TurboTax software products. In 2011 the company revenues exceeded $3.8
               billion.

      18.      Lucasfilm is a film production company known for its computer animation
               expertise, headquartered in San Francisco, California. Founded in 1971, the
               company is best known for producing the Star Wars films, as well as other box
               office hits, including the Indiana Jones franchise. Lucasfilm has seven different
               divisions: Industrial Light & Magic, LucasArts, Lucasfilm Animation, Skywalker
               Sound, Lucas Licensing, Lucas Online and Lucasfilm Singapore. Lucasfilm
               Animation has studios both in Marin County, California and Singapore.

      19.      Pixar is a computer animation film studio headquartered in Emeryville,
               California.20 The company was founded in 1979 as Graphics Group and later
               renamed to Pixar in 1986.21 In 2006 the company was acquired by Disney for
               approximately $7.4 billion.22 Prior to the acquisition, in 2005 Pixar had annual
               revenues of nearly $290 million.23




17 Intel, “Intel Products,” http://www.intel.com/p/en_US/products/productsbyintel.


18 Intel Corporation, “2011 Annual Report,” February 23, 2012 at p.2.


19 Intuit, “Intuit: Corporate Profile,” http://about.intuit.com/about_intuit/profile/.


20 Pixar, “Pixar: Welcome,” http://www.pixar.com/about.


21 Pixar, “Pixar History: 1986,” http://www.pixar.com/about/Our-Story.


22 Pixar, “Pixar History: 2006,” http://www.pixar.com/about/Our-Story and “Disney buying Pixar for $7.4

billion,”NBC News, 1/25/2006, http://www.msnbc.msn.com/id/11003466/ns/business-
us_business/t/disney-buying-pixar-billion.
23 Pixar, “2005 10-K,” March 7, 2006 at p.37.



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            B. The Non-Compete Agreements
      20.      I have studied the allegations of the Plaintiffs’ complaint and evidence of the
               Non-Compete Agreements. I have not been asked to form an opinion on the
               ultimate question of whether or not the Defendants reached anticompetitive
               agreements or should be liable under the law. However, I have reviewed
               evidence about the agreements and their enforcement to understand their scope
               and duration for purposes of my analysis, and to assure myself that certain
               assumptions I have made fit the circumstances.

      21.      Based on that review, I understand the time periods of the alleged Non-
               Compete Agreements to have been as follows.

                   Figure 1: Periods of the Alleged Collusive Agreements
                      Defendants                   Start Date24            End Date25
                          (1)                           (2)                     (3)

                    Adobe-Apple                    May 2005                March 2009
                    Apple-Pixar                    April 2007              March 2009
                   Apple-Google                  February 2005             March 2009
                    Google-Intel                  March 2005               March 2009
                    Google-Intuit                  June 2007               March 2009
                   Lucasfilm-Pixar                Before 2000              March 2009

      22.      I also understand that Defendants entered into several additional agreements.
               Those agreements include: (1) an agreement between Pixar and Intel that began
               in approximately October 2008,26 and (2) agreements Apple apparently had with


24 See ADOBE_001096-097 and 231APPLE002145 (Adobe-Apple); PIX00003419 (Apple-Pixar);

231APPLE002140 and 231APPLE073139 (Apple-Google); GOOG-HIGH TECH-00008281-284 (Google-
Intel); GOOG-HIGH TECH-00008342-350 (Google-Intuit); and Deposition of James Morris, August 3,
2012 at p. 93 (Lucasfilm-Pixar).
25 These dates are based on the notice send to a party to the alleged agreement. I understand that Apple and

Google each received a Civil Investigative Demand (“CID”) on March 13, 2009. Pixar received a CID on
May 27, 2009.
26 See PIX00015306 (Intel agreed with Pixar that it “will not proactively pursue any Pixar employee going

forward.”) The agreement also included a no-hire without permission provision that prohibited Intel from
hiring Pixar employees, regardless of whether a Pixar employee contacted Intel first, unless the head of Pixar

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              Intel, Intuit, and Lucasfilm that mirrored Apple’s agreements with Adobe, Pixar,
              and Google.27

        Figure 2: Relationships of the Alleged Agreements Among Defendants




      23.     All of the Non-Compete Agreements covered all employees of the respective
              companies, regardless of employee geography, job function, product group, or
              time period. Each of the Agreements prohibited cold-calling, meaning that the
              parties agreed not to solicit each other’s employees in any manner. This
              agreement applied to all recruiters who were either directly employed by or were




approved the hire. See also, 76577DOC000464 (“We cannot recruit (including calling up, emailing, or
enticing in any way) current Pixar employees to come work for Intel. If a Pixar employee applies without
being recruited by Intel, contact Pat Gelsinger [a Senior VP at Intel] and explain to him a Pixar employee
(provide the candidates [sic] name) has applied to Intel without being recruited and he will contact the CEO
of Pixar for approval to hire.”).
27 See 231APPLE041661 and 231APPLE041662 (Apple’s “Hands Off (Do Not Call List)” included every

Defendant).

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               headhunters hired by the agreeing firms.28 Some of the agreements included
               additional terms, such as:

                 x       Do not hire: The parties agreed not to make employment offers to
                         employees of the other firm without specific approval from the current
                         employer’s chief executive.29

                 x       Pre-notify: The parties agreed to notify each other prior to making an
                         offer to hire an employee at the other firm.30

                 x       No counteroffer. The initiating firm that makes an offer to an
                         employee of the other firm agreed not to improve its initial offer if the
                         offer was matched by the other firm.31 In other words, “no bidding
                         wars.”32

      24.      The sections below describe each of the agreements among the seven
               Defendants as I understand them.




28 See e.g., 231APPLE001164, GOOG-HIGH TECH-00023500-601 at 520-528., and PIX00000400.


29 When present, this provision applied even when an employee initiated contact.    See, e.g.,
76577DOC000464. Even if certain agreements may not have begun with this express provision, they often
operated in this manner in practice. For example, Pixar and Google sought Steve Jobs’s permission before
making offers to Apple employees. See PIX00006025; 231APPLE002151. Apple refused to consider Adobe
employees unless they first left employment with Adobe. See 231APPLE080776 (“This is a response I
received from an ADOBE employee who applied for a position through our job posting site. I called him to
ensure he is still an ADOBE employee, explained our mutual agreement / guidelines, and asked that he
contact me should his employment with ADOBE terminate, but at this time I am unable to continue
exploring with him. . . . I do not want anything in ‘writing’.”) Apple also attempted to enter into a “no hire”
agreement with Palm, which Palm’s CEO Ed Colligan rejected. See PALM00005 – 008 at 006 and
PALM00022 – 027 at 024. See also, 231APPLE002153 - 154, and 231APPLE002214.
30 See e.g., PIX00000400; GOOG-HIGH TECH-00056790.


31 See PIX00000400; LUCAS00009252.


32 See PIX00004051 (“We just won’t get into bidding wars” for employees.); LUCAS00013507 (“We have

agreed we want to avoid bidding wars.”).

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             1. Pixar-Lucasfilm
      25.     I understand that a Non-Compete Agreement existed between Pixar and
              Lucasfilm for many years, beginning well before the year 2000.33 In addition to
              not Cold-Calling each other’s employees, each company agreed to inform the
              other of any offer made to an employee of the other company pursuant to an
              unsolicited application made by the employee.34 The agreements further
              specified that in the case of such an unsolicited application the company making
              the job offer would make only one offer, and would not improve it in response
              to a counter-offer by the employee’s current employer.35 The agreement
              covered all employees.36 On May 27, 2009, the DOJ issued a Civil Investigative
              Demand (“CID”) to Pixar.37 I have been asked to assume the agreement ended
              on that date.

      26.     Jim Morris, Pixar’s General Manager and former head of Lucasfilm’s Industrial
              Light and Magic division, described the agreement as follows in a videotape
              created on December 9, 2008: “We have an anti-poach clause between the
              Lucas companies and -- and this company. We don’t -- we don’t recruit from
              one another, we don’t call -- if the people want to go from one company to the
              other, we, you know, find a way to let that happen. But we have a -- sort of a
              gentleman’s agreement that we’ve honored pretty well here for the last many
              years.”38

      27.     The “gentleman’s agreement” concerned all employees of the companies, had
              no geographic limit, and had no expiration date.39 Pixar and Lucasfilm provided

33 See Deposition of Lori McAdams, August 2, 2012 at p. 127:4-16 (“Well, I was at Lucasfilm from 1984

through 1998, and that understanding was in place at that time.”); p. 132:15 (“[The agreement] had always
been there.”) and Deposition of James Morris, August 3, 2012 at p. 931.
34 PIX00002328-329 at 328 and PIX00000038-039; PIX00000400 and PIX00006057.


35 PIX00002328-329 at 328; PIX00000400.


36 PIX00002328-329 at 328.


37 See PIX00001958.


38 See Deposition of Jim Morris, August 3, 2012 at p. 113:10-16.


39 See Deposition of Jim Morris, August 3, 2012 at pp. 126:20-127:10; Deposition of Lori McAdams, August


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              the written terms of the agreement to management and certain senior employees
              with relevant hiring or recruiting responsibilities.40

      28.     It appears the companies abided by this agreement41 and viewed it as important
              to avoid competing for each other’s workers.42

      29.     The executives of these firms also clearly viewed containing labor costs as a
              major priority.43

      30.     Pixar’s President Ed Catmull clearly understood the structural effect of
              competition on wages. As he observed in an email to a Disney executive:
              “Every time a studio tries to grow rapidly, it seriously messes up the pay
              structure . . . by offering higher salaries to grow at the rate they desire, people
              will hear about it and leave. We have avoided wars up here in Northern
              California because all of the companies up here – Pixar, ILM [Lucasfilm],
              Dreamworks, and a couple of smaller places – have conscientiously avoided
              raiding each other.”44




2, 2012 at p. 160:23-25. See also, Deposition of Donna Morris, August 21, 2012 at pp. 226:22-227:5 and
Deposition of Mark Bentley, August 23, 2012 at pp. 17:21-18:2.
40 See Deposition of Lori McAdams, August 2, 2012 at p. 145:5-17; PIX00002262-64 (“I created it [summary

of no-solicitation agreement] to give to the recruiting team so they would know what the gentleman’s
agreement was.”).
41 Deposition of Lori McAdams, August 2, 2012 at pp. 149:17-151:17 (PIX0009416); pp. 135:12-137:1

(PIX00003640).
42 Deposition of Lori McAdams, August 2, 2012 at pp. 135:12-139:1; PIX00003640 (“[T]hey got really mad

that we hired Rob Rieders.”).
43 PIX00009216-217 at 217. (“I know you are adamant about keeping a lid on rising labor costs”).


44 PIX00000229.



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             2. The Apple Non-Compete Agreements

                a. Adobe
       31.    As of May 2005, the CEOs of Apple and Adobe had entered into an agreement
              that their respective companies would not recruit each other’s employees.45 This
              agreement covered all employees.46 Apple placed Adobe on its “Do Not Call”
              list and Adobe placed Apple on its “Companies that are off limits” list, both of
              which instructed recruiters not to solicit employees from the listed companies
              and to inform each other if senior executives of each company were actively
              seeking employment at the other.47 On March 13, 2009, the DOJ issued CIDs
              to Apple and Adobe.48 I have been asked to assume the agreement ended on
              that date.

       32.    On May 26, 2005, Steve Jobs complained to Adobe CEO Bruce Chizen that
              Adobe was recruiting Apple employees.49 Chizen responded, “I thought we
              agreed not to recruit any senior level employees … I propose we keep it that
              way. Open to discuss. It would be good to agree.”50 Jobs replied: “OK, I’ll tell
              our recruiters that they are free to approach any Adobe employee who is not a
              Sr. Director or VP. Am I understanding your position correctly?” Chizen
              appeared to recognize the threat and capitulated: “I’d rather agree NOT to
              actively solicit any employee from either company . . . If you are in agreement I
              will let my folks know.” The next day, Adobe HR Vice President Theresa
              Townsley announced to her recruiting team, “Bruce and Steve Jobs have an




45 231APPLE002145.


46 231APPLE002145.


47 See 231APPLE001164 -165 and ADOBE_001096-097.


48 See 231APPLE003695 and ADOBE_007392.


49   See 231APPLE002143.
50 See 231APPLE002143.



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                agreement that we are not to solicit ANY Apple employees, and vice versa.”51
                Mr. Chizen forwarded Ms. Townsley’s email to Steve Jobs. 52

        33.     I understand that the two firms abided by the agreement.53

        34.     To ensure compliance with the agreement, Apple instructed its recruiting
                personnel to adhere to the agreement.54 Adobe, in turn, placed Apple on its
                “Companies that are off limits” list, which instructed Adobe employees not to
                cold call Apple employees.55

                  b. Google
        35.     I understand that by February 2005 Apple and Google agreed that the two
                companies would not “cold call” each other’s employees.56 The agreement
                covered all employees.57 Apple placed Google on its “Do Not Call” list and
                Google placed Apple on its “Do Not Cold Call” list, both of which instructed
                recruiters not to solicit employees from the listed companies.58 On March 13,
                2009, the DOJ issued CIDs to Apple and Google.59 I have been asked to
                assume the agreement ended on that date.




51   See 231APPLE002145 (emphasis in original).
52 See 231APPLE002145.


53 See ADOBE_001095.


54 231APPLE002145 (“Please ensure all your worldwide recruiters know that we are not to solicit any Adobe

employee.”); 231APPLE080776-777 (Apple recruiter tells Adobe applicant that she cannot consider him until
he leaves Adobe, even though “the agreement is not to ‘poach’ candidates, that meaning that if you directly
apply to Apple, there should be no issue.”); ADOBE_007186 (“Apple would be a great target to look into,
unfortunately Bruce and Steve Jobs have a gentleman’s agreement not to poach each other’s talent . . . .”).
55 See ADOBE_00421-422.


56 See 231APPLE002140 and 231APPLE073139. See also, GOOG-HIGH TECH-00008002-005 at 004.


57 GOOG-HIGH TECH-00008002-005 at 004.


58 See GOOG-HIGH TECH-00008002-005 and GOOG-HIGH TECH-00023500-601 at 520-521.


59 See 231APPLE003695 and GOOG-HIGH TECH-00024585.



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      36.     On February 18, 2005, Intuit Chairman and Apple Board Member Bill Campbell
              reached out to Google CEO Eric Schmidt regarding Google’s recruitment of
              Apple employees.60 Mr. Campbell reported back to Steve Jobs: “Eric told me
              that he got directly involved and firmly stopped all efforts to recruit anyone
              from Apple.”61 That same day, Apple’s head of HR Danielle Lambert reported
              to her recruiting staff: “Please add Google to your ‘hands-off’ list. We recently
              agreed not to recruit from one another so if you hear of any recruiting they are
              doing against us, please be sure to let me know. Please also be sure to honor
              our side of the deal.”62

      37.     Later that year, Arnnon Geshuri, Google’s head of recruiting, was asked to
              create a formal “Do Not Cold Call” list regarding companies, including Apple,
              that had “special agreements” with Google to eliminate Cold-Calling. The draft
              was presented to Google’s Executive Management Group (“EMG”), a
              committee consisting of Google’s senior executives, including Eric Schmidt,
              Larry Page, Sergey Brin, and Shona Brown (Google’s head of HR). Mr. Schmidt
              approved the list.63 Mr. Geshuri added or removed a company from Google’s
              Do Not Call when instructed to do so by a member of the EMG.64

      38.     Once the EMG approved it, Mr. Geshuri formalized the “Special Agreement
              Hiring Policy: Protocol for ‘Do Not Cold Call’ and ‘Sensitive’ Companies,” and
              ensured that all of Google’s hundreds of recruiters adhered to its terms.65


60 See 231APPLE002140.


61 See 231APPLE002140.


62 See 231APPLE073139.


63 See GOOG-HIGH TECH-00007725 (Mr. Geshuri sent the draft “Do Not Call” list to Ms. Brown, who

responded: “I would like to finalize with you Monday AM, and then present in EMG . . . .”; GOOG-HIGH
TECH-00007731 (Mr. Schmidt approved the list on October 4, 2005: “This looks very good.”); Deposition
of Arnnon Geshuri, August 17, 2012 at pp. 161:2-167:8.
64 Deposition of Arnnon Geshuri, August 17, 2012     at p. 172:6-8 (Q: And who would tell you whether to put
a company on or off of the do-not-call list? A: It was usually an EMG member.”)
65 GOOG-HIGH TECH 00008283 and GOOG-HIGH TECH-00008342 (example iterations of the Do Not

Call list); Deposition of Arnnon Geshuri, August 17, 2012 at p. 170:19-22 (“I made sure the team was -- was
definitely aware of this protocol”); Deposition of Arnnon Geshuri, August 17, 2012 at pp. 43:20-44:10 (from

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      39.      I have reviewed evidence of specific instances in which both firms adhered to
               the agreement.66 In one case, compliance meant terminating a Google recruiter
               who violated the agreement.67 Google referred to this kind of enforcement as
               an “Eric [Schmidt] firedrill.”68

                 c. Pixar
      40.      In April 2007 the directors of human resources for Apple and Pixar agreed to a
               Non-Compete Agreement that mirrored the terms of the agreement between
               Lucasfilm and Pixar.69 Apple placed Pixar on its “Do Not Call” list, which
               instructed recruiters not to solicit employees from the listed companies, and
               Pixar instructed its human resource personnel to abide by the agreement.

      41.      I understand that historically Pixar and Apple restricted employees from moving
               from one company to another during the period of time when Steve Jobs was
               an executive of Apple and a direct owner of Pixar. On March 13, 2009, the
               DOJ issued a CID to Apple.70 I have been asked to assume the agreement
               ended on that date.

      42.      Beginning no later than 2004, Pixar sought Steve Jobs’ permission before
               making an offer of employment to an Apple employee, regardless of whether


2004 to 2009, Mr. Geshuri grew Google’s recruiting operations from 40 recruiters to 900, which allowed
Google to hire at a rate of “ people a week.”).
66 See 231APPLE002149; GOOG-HIGH TECH-0007574-576.


67 GOOG-HIGH TECH-00009454; GOOG-HIGH TECH-00000107 (In an email in which Mr. Schmidt

was copied: Mr. Geshuri: “the sourcer who contacted this Apple employee should not have and will be
terminated within the hour. We are scrubbing the sourcer’s records to ensure she did not contact anyone
else.” Ms. Brown: “Appropriate response. Please make a public example of this termination with the group.
Please also make it a very strong part of new hire training for the group. I want it clear that we have a zero-
tolerance policy for violating our policies. This should (hopefully) prevent future occurrences.”); Deposition
of Arnnon Geshuri, August 17, 2012 at pp. 214:7-215:20.
68 GOOG-HIGH TECH-00023106 and GOOG-HIGH TECH-0024458; Deposition of Arnnon Geshuri,

August 17, 2012 at pp. 255:3-260:14.
69 At the time of these agreements Steve Jobs was the largest shareholder of Walt Disney, to which he had

sold Pixar in 2006 and he sat on Disney’s board of directors. See PIX00003978.
70 See 231APPLE003695.



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              the Apple employee applied to Pixar without being solicited. For example, on
              February 8, 2004, Rob Cook, Pixar’s Vice President of Software Engineering,
              wrote to Steve Jobs: “Steve, an Apple employee applied for the job of project
              coordinator, which is basically an administrative assistant to our project
              managers. . . . Would it be OK for us to make her an offer?” Steve Jobs
              responded: “Yea, it’s fine.” Mr. Cook forwarded Steve Jobs’s email to Mr.
              Catmull, who responded: “The key is to stay away from the engineers.”71 Ten
              days after this exchange, Mr. Catmull emailed Steve Jobs regarding entering into
              a no-recruit agreement to eliminate competition with Sony: “our people are
              become [sic] really valuable and we need to nip this in the bud.”72 The next
              year, in November 2005, Pixar recruiter Howard Look stated that Pixar was
              struggling to find candidates, but “of course cannot recruit out of Apple.”73

      43.     On April 30, 2007, Apple and Pixar formalized their understanding and
              expanded it to all employees with a call between Ms. McAdams of Pixar and
              Danielle Lambert, Apple’s head of HR. Apple and Pixar modeled their
              agreement on the “gentlemen’s agreement” Pixar had with Lucasfilm. Ms.
              McAdams told her recruiting team about the “Apple Gentleman’s agreement”:
              “I just got off the phone with Danielle Lambert, and we agreed that effective
              now, we’ll follow a gentlemen’s agreement with Apple that is similar to our
              Lucasfilm agreement. That is . . . we won’t directly solicit any Apple employee
              (including outside recruiters if we use them) . . . Danielle will ask her Recruiting
              team to follow the same procedure . . . .”74

      44.     After entering into the agreement, senior executives of both Pixar and Apple
              monitored compliance and policed violations. For example, Lori McAdams
              testified that Steve Jobs got angry if Pixar hired an Apple employee.75 When


71 See PIX00006025.


72 See PIX00006023.


73 See PIX0003600.


74 See PIX00004883; emphasis added; Deposition of Lori McAdams, August 2, 2012 at pp. 182:5-183:9.


75 See Deposition of Lori McAdams, August 2, 2012 at p. 159:4-9.



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             asked whether Pixar would consider hiring an Apple employee who had
             expressed interest in Pixar, Ed Catmull replied, “[Steve] will want the name of
             the guy. My guess is that Steve will approve it if he knows that he is going to
             lose him, but we would have to go through the step of Apple knowing what was
             happening.”76 To ensure compliance with the agreement, Pixar instructed its
             human resources personnel to adhere to the agreement and to preserve
             documentary evidence establishing that Pixar had not actively recruited Apple
             employees.77 Apple, in turn, placed Pixar on its internal “Do Not Call List,”
             which instructed Apple employees not to cold call Pixar employees.78

            3. The Google Non-Compete Agreements

                  a. Apple
     45.      Google’s Non-Compete Agreement with Apple is described above.

                  b. Intel
     46.     Effective March 6, 2005, Google and Intel entered into a Non-Compete
             Agreement.79 Multiple documents confirm this agreement.80 The agreement
             covered all Google and Intel employees. Google placed Intel on its “Do Not
             Cold Call” list, which instructed recruiters not to solicit employees from the
             listed companies, and Intel instructed its human resource personnel to abide by
             the agreement. On March 13, 2009, the DOJ issued a CID to Google.81 I have
             been asked to assume the agreement ended on that date.




76 PIX00002210.


77 PIX0003629-630.


78 See 231APPLE042669 and 231APPLE041662.


79 See GOOG-HIGH TECH-00008281-284 at 283.


80 See 76556DOC000003, 76614DOC010212, 76526DOC000007, 76526DOC000011, and GOOG-HIGH

TECH-00056879.
81 See GOOG-HIGH TECH-00024585.



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      47.      On April 16, 2007, Intel C.E.O. Paul Otellini wrote to an Intel recruiter, “I have
               an unofficial no poaching policy with [Google.]”82 On June 4, 2007, Eric
               Schmidt wrote Otellini re “hiring”: “I checked as to our recruiting policy with
               Intel. ‘Intel has been listed on the Do Not Call List since the policy was
               created. No one in staffing directly calls, networks, or emails into the company
               or its subsidiaries looking for talent.’ Hopefully there are no exceptions to this
               policy and if you become aware of this please let me know immediately!”83
               Otellini forwarded the email to Patty Murray, Intel’s Senior Vice President and
               Director of HR: “FYI . . . . Do not fwd.”84

      48.      Google’s formal “Do Not Cold Call” list included Intel along with Apple, as
               “companies [that] have special agreements with Google,” and states the same
               “Effective” date for both Apple and Intel: “March 6, 2005.”85

      49.      The agreement was enforced by the chief executives of the two companies.
               Intuit’s Chairman, Bill Campbell, was also apparently involved in the agreement
               between Google and Intel. For example, in August of 2006, Campbell reached
               an agreement with Google’s Jonathon Rosenberg (Google’s Senior Vice
               President of Product Management) that Google should impose additional
               restrictions beyond no solicitation: they agreed that Google would call Otellini
               before making an offer to an Intel employee, regardless of whether the Intel
               employee first approached Google.86



82 See 76526DOC000007.


83 See 76614DOC010212.


84 Two days later, in an email titled “global gentleman agreement with Google,” an Intel recruiter asked

Otellini and another senior executive, “Are either of you aware of any agreement with Google that prohibits
us from recruiting Google’s senior talent?” See 76526DOC000011. Otellini replied, “Let me clarify. We have
nothing signed. We have a handshake ‘no recruit’ between eric and myself. I would not like this broadly
known.” See 76526DOC000011.
85 GOOG-HIGH TECH-00008281-284 at 283; GOOG-HIGH TECH-00056879 (“Since the beginning of

the Do Not Call List, Intel has been listed.”).
86 GOOG-HIGH TECH-00056790 (Rosenberg: “Campbell and I already discussed this [talking to Intel

before making an offer to an Intel employee] and agreed that either way [whether Intel was treated as a “Do
Not Call” company, or a “sensitive” company] I should give a courtesy call to Paul Otellini. I’m meeting with

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                 c. Intuit
      50.      In June 2007, Google and Intuit entered into a Non-Compete Agreement
               between Google and Intuit.87 The agreement also covered all employees.
               Google placed Intuit on its “Do Not Cold Call” list, which instructed recruiters
               not to solicit employees from the listed companies, and Intuit instructed its
               human resource personnel to abide by the agreement. On March 13, 2009, the
               DOJ issued a CID to Google.88 I have been asked to assume the agreement
               ended on that date.

      51.      On June 6, 2007, Google Recruiting Director Arnnon Geshuri wrote Eric
               Schmidt: “During a brief conversation with Shona and Bill Campbell, Bill
               requested that Intuit be added fully to the Do Not Call list. Currently, our non-
               solicit policy only covers 18 Intuit employees . . . The change to our Do Not
               Call policy will make our hands-off approach to Intuit explicit and ensure
               clarity.”89 By June 12, 2006, Intuit was added fully to the list.90

      52.      I have reviewed specific evidence of enforcement of the agreement, including
               enforcement by Campbell himself.91




[the Intel candidate] tomorrow and I will ask him how he wants to handle communication to Intel
management before we even get to the stage of specifically discussing an offer.”).
87 See GOOG-HIGH TECH-00009764. There is some indication an agreement may have existed earlier. In

May 2006, Google employees discussed possibly contacting a candidate from Intuit, finally deciding that
“would effectively be a cold call, so I’ll ask martha j not to contact him.” GOOG-HIGH TECH-00007696 –
697 at 696.
88 See GOOG-HIGH TECH-00024585.


89 GOOG-HIGH TECH-00009764.


90 GOOG-HIGH TECH-00007715; GOOG-HIGH TECH-00009391 (“please update the DNC list to now

include Intuit 100% do not call.”).
91 GOOG-HIGH TECH-00057458. See also, GOOG-HIGH TECH-00058235 (email from Bill Campbell to

Google HR Director Lazlo Bock asking “Can we please not target Intuit”).

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              4. Department of Justice Investigation and the End of the
                 Collusion
      53.     On June 3, 2009, the New York Times published an article indicating that the
              DOJ had begun an investigation into the Defendants’ hiring practices and the
              alleged Non-Compete Agreements in particular.92 I understand that by the end
              of March 2009, the DOJ had informed the defendants of the investigation. I
              have assumed for this analysis that, as of that date the agreements between the
              defendants ceased to have an effect on their recruiting and hiring activities.

            C. Named Plaintiffs
      54.     As described above, I have been asked to consider the effect of the Non-
              Compete Agreements on the All-Employee Class of salaried employees (and the
              Technical Employee Class). The members of each proposed class worked for a
              Defendant at a time when that Defendant was a party to at least one such
              Agreement (excluding retail employees, corporate officers, members of the
              boards of directors, and senior executives).




92 Helft, Miguel, “Unwritten Code Rules Silicon Valley Hiring,” The New York Times, June 3, 2009,

http://www.nytimes.com/2009/06/04/technology/companies/04trust.html?_r=1.

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                             Figure 3: Class Employee Summary
                               Agreement          Number of               Total Class
               Defendant        Period          Class Members            Compensation
                                                                              (Dollars)
                   (1)               (2)                (3)                     (4)
               Adobe           05/05-03/09                     7,056    $    3,035,176,142
               Apple           02/05-03/09                    12,963         7,766,265,560
               Google          02/05-03/09                    14,591        11,199,197,383
               Intel           03/05-03/09                    64,556        26,754,719,041
               Intuit          06/07-03/09                     7,186         2,081,658,505
               Lucasfilm       01/01-03/09                     1,274           332,033,830
               Pixar           01/01-03/09                     1,422           877,988,986
               TOTAL                                     109,048        $ 52,047,039,447


                     Note: Columns (3) and (4) are calculated using the Class Periods
                           described in Paragraphs 8 and 9, above.
                    Source: Defendants' employee compensation data; SEC filings.

                   Figure 4: Technical Employee Class Summary
                               Agreement          Number of               Total Class
               Defendant        Period          Class Members            Compensation
                                                                              (Dollars)
                   (1)               (2)                (3)                     (4)
               Adobe           05/05-03/09                     3,601    $    1,740,210,006
               Apple           02/05-03/09                     6,835         4,136,732,515
               Google          02/05-03/09                     7,854         6,758,266,653
               Intel           03/05-03/09                    36,643        18,511,889,966
               Intuit          06/07-03/09                     3,236         1,006,035,578
               Lucasfilm 1     01/01-03/09                      522           164,071,426
               Pixar           01/01-03/09                      859           531,786,543
               TOTAL                                      59,550        $ 32,848,992,686


                     Note: Columns (3) and (4) are calculated using the Class Periods
                           described in Paragraphs 8 and 9, above.
                                1
                                    Missing job title information for 2005.
                    Source: Defendants' employee compensation data; SEC filings.

    55.   I understand the following named plaintiffs are seeking to serve as class
          representatives for the proposed All-Employee Class or Technical Employee
          Class :

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               a.   Michael Devine who worked for Adobe from October 2006 through
                    July 7, 2008 as a computer scientist for Adobe Systems;

               b.   Mark Fichtner who worked for Intel as a software engineer from May
                    of 2008 through May 2011;

               c.   Siddharth Hariharan who worked for Lucasfilm as a software engineer
                    from January 8, 2007 through August 15, 2008;

               d.   Brandon Marshall, who worked for Adobe as a software production
                    quality specialist from July 2006 through December 2006; and

               e.   Daniel Stover, who worked for Intuit as a Web Marketing
                    Representative, Web Developer, and Software Engineer from July 2006
                    through December 2010.

    56.   I have summarized the employment histories of these individuals as contained
          in Defendants’ data. The employment histories of the five named plaintiffs are
          reported in Figure 5.




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                                Figure 5: Named Plaintiffs’ Employment Histories
                                            Name Plaintiff's Employment Profile Summary

                                                                                                        Separation     Base Annual         Supplemental
      Name               Year     Employer                      Title                     Hire Date         Date           Salary        Compensation1
                                                                                                                                     (Dollars)
        (1)               (2)         (3)                        (4)                         (5)             (6)            (7)                   (8)

Daniel Stover            2006      INTUIT       WEB MARKETING REP 2                     10/30/2006                     $     75,000       $          4,129
                         2007      INTUIT       WEB DEVELOPER 2                         10/30/2006                           83,500                 19,765
                         2008      INTUIT       SOFTWARE ENGINEER                       10/30/2006                           91,300                 83,877
                         2009      INTUIT       SW ENGINEER 2                           10/30/2006      12/3/2009            94,000                 38,553

Brandon Marshall         2006     ADOBE         SW PROD QUALITY SPEC 1                    7/31/2006     12/9/2006            68,000                     5,895

Mark Fichtner            2001      INTEL        SOFTWARE ENGINEER, SR                     7/12/1993                         84,250                  67,461
                         2002      INTEL        SOFTWARE ENGINEER, SR                     7/12/1993                         84,250                  40,176
                         2003      INTEL        SOFTWARE ENGINEER, SR                     7/12/1993                         84,250                  25,101
                         2004      INTEL        SOFTWARE ENGINEER                         7/12/1993                         86,782                  36,592
                         2005      INTEL        SOFTWARE ENGINEER                         7/12/1993                         95,132                  38,299
                         2006      INTEL        SOFTWARE ENGINEER                         7/12/1993     11/8/2006          100,362                  48,189
                         2008      INTEL        SOFTWARE ENGINEER                         7/12/1993                        108,000                  14,013
                         2009      INTEL        SOFTWARE ENGINEER                         7/12/1993                        108,000                  30,501
                         2010      INTEL        SOFTWARE ENGINEER                         7/12/1993                        110,160                  42,078
                         2011      INTEL        SOFTWARE ENGINEER                         7/12/1993      6/1/2011          111,290                  35,973

Michael Devine           2006     ADOBE         COMPUTER SCIENTIST, SW DEV 4 9/25/2006                                     110,000                  21,222
                         2007     ADOBE         COMPUTER SCIENTIST, SW DEV 4 9/25/2006                                     113,135                  33,405
                         2008     ADOBE         COMPUTER SCIENTIST, SW DEV 4 9/25/2006                   7/8/2008          118,226                   3,445

Siddharth Hariharan      2007 LUCASFILM SOFTWARE ENGINEER                                  1/8/2007                          85,000                 17,000
                         2008 LUCASFILM SOFTWARE ENGINEER                                  1/8/2007     8/15/2008            88,335                      -


                   1
                       Supplemental compensation includes bonus, overtime compensation, options values and restricted stock values

                                              Source: Defendants' employee compensation data; SEC filings



                D. Background on Defendants’ Recruiting and Hiring Practices
       57.         Defendants classified potential job candidates as either “passive” or “active.”93
                   Active candidates were searching for employment and could be expected to
                   discover posted opportunities (e.g., an active candidate might apply through the
                   company’s website). Passive candidates were not searching for new




93 76550DOC000014-095 at 024, LUCAS00013673-703 at 683, GOOG-HIGH TECH-00039446-581 at 451

and 76566DOC000005-026 at 010.

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               opportunities but might be interested if the candidate learned of a good job
               opportunity.94

      58.      The Defendants used several types of methods for uncovering (or “sourcing”95)
               passive candidates, including referrals.96 The initial contact to a passive
               candidate is called “Cold-Calling.”

      59.      Many companies, including the Defendants, actively pursue Cold-Calling
               strategies. For example, the Competitive Intelligence Group at Google created a
               “Product Matrix,” profiling competitors and highlighting areas in which these
               competitors have employees that would be useful to Google, naming Cold-
               Calling as a method to “strategically reach, engage and close the best talent in
               the world.”97

      60.      Intuit recruiters were expected to use Cold-Calling as a recruiting technique.98
               Google identified Cold-Calling as an activity of its recruiters (“sourcers”).99

      61.      In preparation for Cold-Calling, the Defendants profiled their competitors,
               looking for job categories and titles that corresponded to the positions to be
               filled.100 Cold-Calling recruiters would then approach employees who fit into
               those categories to determine their potential interest, which could be followed




94 Deposition of Donna Morris, August 21, 2012 at pp. 106:22-107:19 and Exhibit 212.


95 Intel defined sourcing as, “the identification and uncovering of candidates through proactive recruiting

techniques.” Sourcing channels included complex internet searches, networking, job fairs and searching
through previous applications. Companies can also use external recruiting agencies to find potential
candidates 76550DOC000014-095 at 19 and 23 and 76545DOC000021-051 at 23.
96 76550DOC000014-095 at 023 and LUCAS00004690 at 692-694.


97 GOOG-HIGH-TECH-00054775.


98 See INTUIT_001661-664 at 663.


99 See GOOG-HIGH TECH-00007950-973 at 971.


100 See GOOG-HIGH-TECH-00055116 and GOOG-HIGH-TECH-00055413-414.



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               x    Some employers may have failed to anticipate improvements in market
                    conditions and may have left valuable employees with compensation
                    packages far below what they could get elsewhere. This can create
                    clusters of low-hanging fruit.

IV.    Common Evidence and Analysis Are Capable of Showing that
       the Non-Compete Agreements Artificially Reduced the
       Compensation of Defendants’ Salaried Employees
      63.   Methods and evidence, common to each Class as a whole, are capable of
            demonstrating that the Non-Compete Agreements reduced the compensation
            of All-Employee Class and Technical Employee Class members employed by
            the Defendants. This Class-wide proof of impact comes in two steps. First,
            there is abundant evidence, common to All-Employee Class and Technical
            Employee Class members, capable of showing that the Non-Compete
            Agreement suppressed the compensation of the members of the All-Employee
            Class and Technical Employee Class, generally. Such Class-wide methods and
            evidence include, without limitation: (a) standard economic theory regarding the
            effects of information asymmetries on labor market contracts, which work to
            the disadvantage of the less informed party, and (b) standard economic theory
            regarding the effects of movement of employees between firms enticed by
            better compensation, and the consequent interest of firms in peremptory
            increases in compensation to employees when poaching by key rivals occurs
            regularly; (c) multiple regression analyses, using extensive compensation data,
            showing that compensation was reduced for Class and Technical Employee
            Class members; and (d) documentary evidence, including documents from
            Defendants’ own files, describing, e.g., the Non-Compete Agreements,
            Defendants’ enforcement of those Agreements, the importance of the
            Agreements, and the effects of poaching on movement between firms and
            compensation.

      64.   I have found further that Class-wide methods and evidence are capable of
            demonstrating that the Non-Compete Agreements suppressed the
            compensation of all or virtually all members of the All-Employee Class and
            Technical Employee Class. In addition to the Class-wide evidence described in


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              the previous paragraph, such common proof that the effects of the Non-
              Compete Agreements was broadly felt also includes (a) economic theory
              regarding the interest of firms in fostering a concept known in the economic
              literature as “internal equity,” such that compensation tracks the success of the
              firm’s most highly compensated employees; (b) additional evidence that
              compensation of employees tended to move together over time, such that the
              effects of Non-Compete Agreements are likely to be broadly felt; and (c)
              evidence from Defendants’ own files showing their respective concerns about
              preserving internal equity, as well as other documentary evidence, when
              Agreements were not in place, that some Defendants responded to periods of
              intense poaching by close rivals with across the board salary increases to all
              employees.

      65.     I describe these methods and evidence in greater detail below.

            A. Class-wide Evidence is Capable of Showing that the Non-
              Compete Agreements Suppressed Compensation Generally

              1. Economic Theory Offers a Classwide Basis for Linking Non-
                 Compete Agreements to Suppressed Compensation Incurred
                 by Members of the All-Employee Class and Technical Employee
                 Class
      66.     There are three economic frameworks106 that are particularly useful for
              evaluating the likely impact on employees of illegal agreements to suppress
              Cold-Calling. These frameworks--each well-accepted in the economics
              literature--explain various mechanisms by which anti-Cold-Calling agreements
              can suppress worker compensation generally.

      67.     The frameworks for considering the effect of the alleged non-compete
              agreements discussed below are (1) price discovery, (2) worker compensation
              equity and (3) profit-sharing. Each framework has different implications
              regarding the way in which the effects are spread across firms, across job

106“Frameworks” refers to general views regarding how labor markets function and “model” refers to a
specific example of a framework. A framework is usually communicated in words, while a model is expressed
with either graphs or mathematical formulae.

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          categories within firms and across time. The frameworks are not mutually
          exclusive in that effects of the Agreements can arise through multiple channels.
          In this section, I will focus here on frameworks “(1)” and “(3)” as they pertain
          mainly to the general linkage between the Non-Compete Agreements and
          suppressed compensation. I will elaborate on framework “(2)” regarding
          internal equity when I discuss the Class-wide evidence capable of showing
          widespread harm to the either class later in my Report.

    68.   For all three frameworks, Cold-Calling is part of the information gathering that
          reveals the nature of outside opportunities both to workers and to employers.
          Anti-Cold-Calling agreements suppress compensation by limiting this flow of
          information about attractive outside opportunities.

    69.   Cold-Calling is an especially important source of information about outside
          opportunities under two circumstances: (a) uneven growth (i.e., firms are
          growing at different rates), which requires reallocation of the workforce in favor
          of the firms which can offer workers the best contracts, and (b) even growth
          (firms are growing at a generally equal rate), which doesn’t necessitate any
          reallocation of the workforce but which creates greater competition for the
          scarce workforce.

    70.   Under either condition, Cold-Calling contributes to economic efficiency. With
          uneven growth, Cold-Calling helps to assure that workers are assigned to their
          most valued tasks. With even growth, Cold-Calling helps to assure that
          workers receive a proper scarcity premium which signals to other workers which
          skills are most needed. In both circumstances, economic theory predicts that
          agreements restricting Cold-Calling would suppress worker compensation for all
          or nearly all employees of the Defendants who agreed to them.

               a. Price Discovery Framework
    71.   The market equilibrium models that economists often use presume that market
          forces are powerful enough and work rapidly enough that virtually all
          transactions occur at approximately the same price – the “market price” which
          equilibrates supply and demand. In reality, in the face of changed market
          conditions, the actual transactions’ prices can deviate from the market
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              equilibrium sometimes by large amounts for long periods of time. The process
              by which actual transactions prices move to market equilibrium values is called
              “market price discovery.”

      72.     The speed at which the price discovery process operates is determined by the
              frequency at which buyers and sellers get together to haggle over the price, and
              by the rate at which information about the outcomes of those bargains,
              consummated or not, is dispersed among other potential buyers and sellers.
              Non-Compete Agreements that limit the bargaining between employers and
              employees thus slow down the price discovery process and affect each and
              every labor contract in the markets.

      73.     In some settings the price discovery process is so slow and imperfect that the
              concept of a “market equilibrium” is of limited value for understanding the
              sequence of actual transactions.107 Labor markets that involve infrequent
              bargains and limited information flows can have very sluggish price discovery.
              High transaction costs and weak information flows create very illiquid labor
              services which are transferred via bilateral bargains, not via markets.108 The
              expensive and time-consuming task of uncovering and valuing the unique
              features of workers slows down the price discovery process and allows many
              transactions to occur at prices far from market equilibrium levels.

      74.     High-tech jobs involve high costs for transactions including time, money and
              personal dislocation. These high transaction costs make transactions very
              infrequent and limit the number of workers actively seeking new employers.

      75.     The labor market also has weak information flows about specific jobs.
              Employees may rely mostly on “water-cooler talk” perhaps supplemented by
              Internet sources. Employers, on the other hand, often hire private consulting
              firms to provide aggregated information about “market” compensation. For

107 Stiglitz, Joseph, “Information and the Change in the Paradigm in Economics,” The American Economic

Review, Vol.92, No. 3 (June 2002), pp. 460-501.
108 For related effects in a financial context, see e.g., Green, Richard C., Dan Li and Norman Schürhoff,

“Price Discovery in Illiquid Markets: Do Financial Asset Prices Rise Faster Than They Fall?,” Journal of
Finance, Volume 65, Issue 5, pp. 1669–1702, October 2010.

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              employees, Cold-Calling is an important channel of information about outside
              opportunities. Absent Cold-Calling, many labor contracts are negotiated in
              unequal bargains between informed employers and uninformed employees.

      76.     Agreements that reduce the number of bilateral bargains further slow the price
              discovery process and affect the whole sequence of actual transactions.109 Non-
              Compete agreements do not change the value of the work; they only help
              employers keep more of that value.

                b. Relationship Framework: Firm-Specific Assets
      77.     Net revenues of high-tech intellectual service firms accrue to one of the two
              assets that drive value: the “brand” (the firm) or the workers. The division of
              the net revenues between the firm and the workers is determined by outside
              competition for workers, which pressures firms to pay their workers at least as
              much as the best outside offer.110

      78.     When firm-specific knowledge assets reside within the brains of workers, the
              movement of workers between firms is a form of “creative destruction”
              meaning that the increased value of the worker at the new job is offset by
              destruction of value at the old. This is economically inefficient unless the value
              of the asset created exceeds the value of the asset destroyed. If neither party to
              the new employment contract is incented to worry about the destruction, there
              will be too much destruction, the consequence of which is too little creation. A
              new employer is unconcerned about the “destruction” of the previous
              employer’s asset, or likes it if it impairs a competitor. It is therefore essential for
              firms to form relationships that make workers sensitive to the asset destruction
              that would occur if they switched employees. This can be done by making them
              joint owners of the intellectual assets of the firm, through stock option plans


109 See Tappata, Mariano, “Rockets and Feathers Understanding Asymmetric Pricing,” UCLA Job Market

Paper, January 2006 and Yang, Huanxing and Ye, Lixin, “Search with learning: understanding asymmetric
price adjustments,” Ohio State University, August 2006.
110 GOOG-HIGH-TECH-00193377-382, GOOG-HIGH TECH-00038103-128 at 125, PIX00000038-039

and LUCAS00004446-452 at 451-452.

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              and restricted stock grants. These plans can help limit movement of critical
              workers.

      79.     If firms have not created adequate incentives to assure worker loyalty, Cold-
              Calling can seriously threaten loss of the critical intellectual assets. In periods
              when demand for the critical workforce is weak, firms may feel little threat of
              loss of workers, and may let grants of stock options and restricted stocks recede.
              Firms may be surprised when the market starts to heat up again and they start to
              lose critical workers. A legal countermeasure to limit loss of the critical workers
              would be increased use of stock options and restricted stock grants.
              Management which prefers not to share ownership with their workforce may
              instead choose the countermeasure of anti-Cold-Calling agreements, even if it
              may be illegal.

      80.     Economic theory therefore predicts that agreements such as the Non-Compete
              Agreements artificially suppress employee compensation on a widespread basis.
              Furthermore, evidence common to all potential class members in this case can
              be used to confirm this predicted effect.

             2. Defendants’ Internal Documents Provide Additional Class-wide
                 Evidence Capable of Showing that the Non-Compete
                 Agreements Artificially Suppressed Compensation
      81.     The Defendants’ internal documents can be used to confirm that company-wide
              prohibitions on recruiting would tend to artificially suppress the compensation
              of the members of the All-Employee Class and Technical Employee Class.

      82.     Documents reveal that the defendants would otherwise have been competing
              for employees.111 In the absence of these agreements, Defendants would have
              cold called one another’s employees.112


111 See e.g., ADOBE_005950 - 967 at 966 (“list of [nine] companies Adobe’s Board of Directors benchmarks

against from a compensation standpoint” include Google, Apple, and Intel; with regard to benefits, Adobe is
in a “six horse race” with Google, Apple, Intel and two other companies); PIX00006023 (“Our people are
becoming really desirable and we need to nip this in the bud.”); GOOG-HIGH TECH-00023206-212 at 209
(“The Recruiting Wars: How To Beat Google To Tech Talent”).
112 See GOOG-HIGH TECH-00056840 (“Cold-Calling into companies to recruit is to be expected unless


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      83.      Prior to the Agreements the Defendants were concerned with successful
               poaching by other firms—and particularly other Defendants. In an email
               discussing Adobe’s policy toward Apple under the Agreements, Adobe’s Bruce
               Chizen wrote, “… Knowing Steve, he will go after some of our top Mac talent
               like Chris Cox and he will do it in a way in which they will be enticed to come
               (extraordinary packages and Steve wooing).”113

      84.      Thus Defendants recognized that Cold-Calling and other forms of poaching had
               the potential to drive up the cost of specific employees. They also recognized
               that the effects of poaching would extend well beyond the employees directly
               approached by a cold-call. Pixar’s top executive Ed Catmull noted, “we learned
               that the company that Zemeckis is setting up in San Rafael has hired several
               people away from Dreamworks at a substantial salary increase… every time a
               studio tries to grow rapidly… it seriously messes up the pay structure.”114


they’re on our ‘don’t call’ list.”); GOOG-HIGH TECH-00053679-681 at 680 (“Over the 8 years of my
executive search experience, I’ve worked with hundreds of clients. And for every search assignment, the first
thing we do is to target the direct competitors of the respective clients.”); ADOBE_001092-093 at 092
(“Apple would be a great target to look into. Unfortunately, Bruce and Steve Jobs have a gentleman’s
agreement not to poach each other’s talent.”); GOOG-HIGH TECH-00023132 (as soon as eBay and PayPal
were removed from Google’s Do Not Call list, “staffing is ready to pursue several hundred leads and
candidates”); 76506DOC000773-990 at 845 (in an Intel presentation titled “Intel’s Complete Guide to
Sourcing,” on the slide regarding “Cold-Calling”: “Calling candidates is one of the most efficient and effective
was to recruit.”); LUCAS00005403-446 at 405 (“The Recruiting Strategy for LucasArts for the next 2-3 years
must be focused on the passive candidate.”); ADOBE_002773-788 at 775 (Adobe presentation regarding
sourcing focused on “passive” candidates:” “top performers tend to be entrenched, ‘heads down.’”); GOOG-
HIGH TECH-00024149-218 at 152 (in a Google “Sourcing Diagnostic”: “Passive sourcing will play an
increasingly large role in recruiting as we move forward as a company.”); and GOOG-HIGH TECH-
00007729 (a year before entering into its first no-solicit agreement with Apple, Shona Brown wrote: “We
have historically always allowed recruiters to find talent wherever it is – even when it is with key partners . . .
or sensitive competitors . . . Which is the right answer.”). In response to one of Mr. Geshuri’s “periodic
reminders” to his recruiters regarding the “Do Not Call list,” a Google recruiter remarked in frustration: “I
guess the candidates I have been sourcing from Burger King, Jiffy Lube and Der Wienerschnitzel are still fair
game.” See GOOG-HIGH TECH-00008249 and Deposition of Arnnon Geshuri, August 17, 2012 at pp.
262:4-264:13.
113 ADOBE_001096-001097 at 097.


114 PIX00000229. Also noting, “I know that Zemeckis’ company will not target Pixar, however, by offering

higher salaries to grow at the rate they desire, people will hear about it and leave. We have avoided wars up in
Northern California because all of the companies up her – Pixar, ILM, Dreamworks, and a couple of smaller
places- have conscientiously avoided raiding each other.”

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      85.     These documents indicate defendants saw a significant potential benefit from
              reducing or limiting this competition for employees (e.g., relating to the
              perceived impact of actual and potential poaching on compensation).

      86.     In contexts not covered by the non-compete agreements, the defendants
              regularly and openly used Cold-Calling to find new employees. For example, in
              an Intuit email, Intuit officials looking to fill a position discuss “good target
              companies to go after.”115

      87.     Even during the period of agreements, the Defendants considered Cold-Calling
              a useful tool in recruiting employees from companies other than those
              participating in the Agreements.116

      88.     In November 2007, after agreement between Adobe and Apple was officially
              terminated, a Hiring Analysis from Adobe’s Competitive Intelligence Group
              reported, “recruiting and retaining top talent will likely be more competitive to
              the extent that the high tech sector remains economically healthy… As
              Microsoft, Google and Apple dial-up the volume on attracting Adobe resources,
              what changes or new approaches would assist Adobe in retaining top talent?”117

             3. Analysis of Defendants’ Compensation Data Is Additional
                 Class-wide Evidence Capable of Showing that the
                 Compensation of All-Employee Class and Technical Employee
                 Class Members Was Suppressed by the Non-Competition
                 Agreements
      89.     My analysis of Defendants’ compensation data is additional common evidence
              capable of showing that restricting Cold-Calling would artificially suppress
              employee compensation by impeding the price discovery process.

      90.     Compensation of new recruits compared with existing employees can reveal the
              price discovery process at work. If compensation of current workers were close

115 INTUIT_002372.


116 See e.g., PIX00003610-00003611 at 610; GOOG-HIGH TECH-00008233 (6/21/2008 email’ “actively

recruiting key Yahoo! Employees was a recommended course of action given current industry dynamics”).
117 ADOBE_004964 – 004997 at 975.



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          to a “market equilibrium” level, the new recruits would be paid similarly to
          existing employees, net of “moving costs.” If the market value of the workers
          were then to increase, that would set in motion a price discovery process during
          which new recruits were paid distinctly more than current employees with
          similar skills and experience. In the early phases of the price discovery process,
          the salaries of these new recruits might also be below equilibrium levels, and the
          compensation packages offered new recruits can improve over time in search of
          the higher equilibrium. As firms become aware of the increased external
          competition, compensation packages of current employees may be improved to
          bring them more in line with outside opportunities. It can take considerable
          time for this complicated price discovery process to find a new equilibrium in
          which new recruits and existing employees are paid about the same. It can take
          much longer if information about superior opportunities is suppressed by Non-
          Compete Agreements.

    91.   Thus, a symptom of price discovery at work would be better compensation
          packages for those who moved between Defendants than for those who stayed.
          In Figure 6 and Figure 7 below I compare on a year-by-year basis the percent
          changes in compensation of the movers versus the stayers--those who moved
          between Defendants and those who didn’t. As Figure 6 shows, the increase in
          base salary of the movers was almost always above the stayers. But in 2006, the
          movers received almost 16 percent increases in base salary compared with about
          5 percent for the stayers. That gap is a symptom of the price discovery process
          at work in search of higher wages, a process that was the apparent target of the
          anti-Cold-Calling agreements put in place at that time.




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      95.       Cold-Calling is likely to be most active during the industry expansions in which
                the industry overall is enjoying rapid growth and facing supply constraints of
                workers at every level of experience.

      96.       During much of the class period, the Defendants collectively were experiencing
                a phase of rapid economic expansion and exhibited strong financial
                performance. Google grew from a startup with just eight employees in 1999 to a
                publicly traded company with over 30,000 employees in 2012. Apple tripled its
                revenue between 2005 and 2010 with widespread success of its consumer
                electronic products including the iPhone, iPod Touch and iPad. Adobe
                generated about $980 million in owner earnings in 2007, up from $580 million
                and $540 million in 2006 and 2005, respectively.118 Between 1998 and 2011,
                Pixar released 11 blockbuster feature films resulting in more than $6 billion at
                the worldwide box office.119

                 x        ‘It’s surreal in the Valley, compared to the rest of the country,’ said
                         Harj Taggar, a partner at startup incubator Y Combinator [in 2011].
                         ‘It’s so hard to hire people here – and salaries for engineers are going
                         through the roof.’120

      97.       Equity distributions are especially important for retaining critical employees
                during expansions when many firms are actively recruiting talent. The normal
                vesting periods of three or four years align compensation with stock market
                performance, and create a loss for workers who leave. This makes them share
                in the loss of firm-specific knowledge assets that their departure creates. Equity
                grants and profit-sharing are used to promote employee loyalty and retain firm-
                specific knowledge assets,121 as that term is understood in economic literature.



118 Ponzio, Joe, “With Adobe, Growth and Value are Joined at the Hip,” Seeking Alpha, February 4, 2008,

http://seekingalpha.com/article/62919-with-adobe-growth-and-value-are-joined-at-the-hip.
119 Pixar, “Corporate Overview,” http://www.pixar.com/companyinfo/about_us/overview.htm [Accessed

04/06/2012].
120 Wagner, Alex, “As National Employment Stalls, Job Market Booms In Silicon Valley,” Huffington Post,

July 8, 2011.
121 See e.g., Grant, R. M., “Toward a Knowledge-Based Theory of the Firm,” Strategic Management Journal, 17


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      100.   Following a period of industry weakness122 in which the forces for increases in
             compensation were weak, normal market forces in 2005 and subsequently
             would have resulted in a distribution of some of that net revenue to the
             workforce. It is not surprising that the anti-Cold-Calling agreements were put in
             place in 2005 and subsequently, when employment and revenues began to grow
             substantially and when competition for critical workers was likely more intense.
             The agreements were formed when they were most likely to be effective and to
             matter.

          B. Classwide Evidence is Capable of Showing that the Non-Compete
              Agreements Suppressed the Compensation of All or Nearly All
              Members of the All-Employee Class and Technical Employee
              Class

      101.   Common evidence can likewise be used to demonstrate that the artificial
             suppression of employee compensation would have been widespread, extending
             to all or nearly all members of the All-Employee Class and Technical Employee
             Class. This Class-wide evidence includes all of the evidence set forth above
             capable of showing the link between the Non-Compete Agreements and
             suppressed compensation plus three additional categories of evidence: (a)
             economic theory implicating firm incentives to maintain worker loyalty by
             adhering to principles of internal equity through a rigid salary structure; (b)
             Defendants’ documents reflecting their recognition and implementation of
             internal equity principles and more specifically demonstrating the broad effects
             on compensation of the Non-Compete Agreements; and (c) multiple regression
             analyses capable of showing both that compensation of All-Employee Class and
             Technical Employee Class members is governed largely by common factors and
             that Defendants maintained rigid salary structures such that one would expect
             Non-Compete Agreements to have widespread effects on compensation of All-
             Employee Class and Technical Employee Class members.


122 Luo, Tian and Mann, Amar, “Crash and Reboot: Silicon Valley high-tech employment and wages, 2000-

08,” Monthly Labor Review, January 2010, p.61-65 and NOVA Workforce Board, “Silicon Valley in
Transition,” July 2011.

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      102.    One key economic framework (introduced above) is built on the concept of
              firms’ incentives to maintain and promote worker loyalty. Although economists
              often refer to the labor “market,” most labor services are mediated not by
              commodity markets but by committed long-term relationships built on trust and
              understanding and mutual interests. If it were literally a commodity market the
              compensation paid to any particular employee would have to be both the
              highest that the employee could find and also the lowest that the employer
              could find at any particular point in time. If workers were commodities, every
              small change to external or internal conditions would lead to recontracting,
              separation, or termination. This would create enormous uncertainty and
              disruption and insecurity for employer and employee. Both sides of the bargain
              thus seek ways to turn the market transaction into a long-term relationship. A
              secure long-term relationship can come either from commitment (emotional or
              financial) to the mission of the organization, or from jointly owned firm-specific
              assets.123

      103.    Firms attempt to create loyalty by getting buy-in to the firm’s mission and by
              making the place of work as appealing as possible.124 If these intangibles are
              insufficient, firms also have employee stock options (ESOPs) that give
              employees a stake in their firm.125

      104.    One foundation of employee loyalty is a feeling of fairness that can translate
              into a sharing of the rewards with more equality than a market might otherwise
              produce. “Equitable” compensation practices spread wage increases or
              reductions across broad categories of workers.126 This implies that when


123 Becker, Gary, “Nobel Lecture: The Economic Way of Looking at Behavior,” The Journal of Political Economy,

Vol. 101, No.3 (June 1993), pp. 385-409.
124 See GOOG-HIGH TECH-00038364-395 at 368-369.


125 Oyer, Paul and Schaefer, Scott, “Why Do Some Firms Give Stock Options To All Employees?: An

Empirical Examination of Alternative Theories,” March 26, 2003.
126 See e.g., Rees (1993) who describes the role of demand and the impact of market forces on salary

structures of university faculty. (Rees, A. "The Role of Fairness in Wage Determination," Journal of Labor
Economics, 1993, Vol. 11, No. 1, pt. 1.) See also, Mas, “Pay, Reference Points, and Police Performance,” The
Quarterly Journal of Economics, August 2006.

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               outside opportunities put pressure at one point in the wage structure calling for
               higher wages for a few, firms tend to maintain the overall firm wage structure,
               rewarding everyone for the improved outside opportunities of some workers.127

      105.     To maintain loyalty, it is usually better for a firm to anticipate rather than to
               react to outside opportunities, since if a worker were to move to another firm at
               a much higher level of compensation, coworkers left behind might feel they
               have not been fairly compensated. That can have an adverse effect on worker
               loyalty, reducing productivity and increasing interest in employment elsewhere.
               To avoid this reduction in loyalty in the face of competition, firms may make
               preemptive improvements in their compensation packages.128

      106.     As discussed throughout this Report, Class-wide evidence is capable of showing
               that Cold-Calling--as well as just the threat of Cold-Calling--puts upward
               pressure on compensation. Economic theory describes factors that drive firms,
               like the Defendants, toward equitable pay practices that would be expected to
               spread the impact of an agreement to suppress Cold-Calling across all or almost
               all workers in a firm. Non-compete agreements allow firms to be more relaxed
               in maintaining competitive compensation packages because such agreements 1)
               suppress competition directly; 2) reduce the risk of employees becoming aware
               of pay practices elsewhere; and 3) otherwise eliminate competition for “passive”
               employees.




127 Concerns about fairness are observed within the defendants and in public discussions relating to salaries at

firms like the defendants. See e.g., 76512DOC000638-677 at 644 and 656-658 (“Use benchmark salary
surveys to create criteria on which to evaluate jobs across Intel… supports consistence and equity within and
across business groups.”). See also, ADOBE_008047-049 at 047 and GOOG-HIGH-TECH-00193377-382
at 380-381.
128 See e.g., GOOG-HIGH-TECH-00194945 –946.



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             bonus of $1,000 for every salaried employee.142 Google referred to this project
             as the “Big Bang,” and discussed it extensively beforehand with Intuit’s Bill
             Campbell and Intel’s Paul Otellini.143 These discussions provide a powerful
             illustration of the common impact of Defendants’ Agreements.

     111.    On October 8, 2010, Jonathan Rosenberg emailed Google’s senior executives
             (and Bill Campbell) summarizing concerns from the “broader population” at
             Google regarding Google’s counteroffer strategy. Employees who heard about
             other “Googlers” receiving counteroffers were upset: “It’s impossible to keep
             something like this a secret. The people getting counter offers talk, not just to
             Googlers and Ex-Googlers, but also to the competitors where they received
             their offers (in the hopes of improving them), and those competitors talk too,
             using it as a tool to recruit more Googlers.”144 “And for the time that the
             person remains, there will be serious resentment among his/her peers for what
             seems like an unfair jump.”145

     112.     This is an illustration of all three frameworks: (1) Price Discovery; (2) Equity
             and Loyalty; and (3) Firm-Specific Assets.

     113.    First, when employees discover information regarding their labor’s value by
             receiving an offer from a competing employer, those employees use that
             information to negotiate higher salaries at their current employer, and so on, in
             an iterative process.

     114.    Second, those individuals tell others at their employer, who then “resent[]” the
             perceived “unfair jump” in pay, increasing pressure to match compensation




142 GOOG-HIGH-TECH-00193377-382 at 380.


143 See GOOG-HIGH-TECH-00195005 – 007, GOOG-HIGH-TECH-00196108, GOOG-HIGH-TECH-

00196687, GOOG-HIGH-TECH-00196689, and GOOG-HIGH-TECH-00194945 –946.
144 INTUIT_039098-100 at 098.


145 INTUIT_039098-100 at 098. See also, GOOG-HIGH-TECH-00194721-722.



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             increases broadly.146 This is often experienced in emotional terms: “it feels like
             my loyalty is being punished.”147

     115.    Third, Google made counteroffers to both “top performer[s]” and employees
             who were not top performers, but who had “deep knowledge of important
             plans or IP.”148

     116.    Alan Eustace, a Senior VP of Google, confirmed these frameworks in the same
             document (again, in an email also sent to Bill Campbell): “every time an
             employee has a better offer, a company is forced to decide how badly they want
             the employee, and what they are ultimately worth. . . . You can’t afford to be a
             rich target for other companies.”149

     117.    Eustace also explained why many employee candidates will not learn “what they
             are ultimately worth” without Cold-Calling by a competing company: actively
             seeking out such offers and using them to negotiate for higher compensation “is
             a high risk strategy” that “seriously questions your loyalty and character, which
             could have long-term consequences to your career that offset any financial
             gain.”150 The “right approach” to respond to such recruiting efforts by a labor
             market competitor “is to not deal with these situations as one-off’s but have a
             systematic approach to compensation that makes it very difficult for anyone to
             get a better offer.”151

     118.    Google’s announcement did not escape the attention of other Defendants.
             First, the same executives at Intuit and Intel who entered into the Agreements




146 See INTUIT_039098-100 at 099.


147 INTUIT_039098-100 at 099.


148 INTUIT_039098-100 at 099.


149 INTUIT_039098-100 at 098.


150 INTUIT_039098-100 at 098.


151 INTUIT_039098-100 at 098.



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              with Google were sent them directly.152 Other Defendants paid close attention
              as well.153

      119.    Google later researched the impact of its announcement on offer acceptance
              rates (they increased by 5 percent) and investigated “Facebook’s reaction.”154
              Google continued to focus on Facebook recruiting efforts through 2012, and
              created another detailed analysis in January 2012.155

                2. Econometric and Statistical Analysis of Defendants’
                    Compensation Data Is Also Capable of Demonstrating That
                    the Compensation Suppressing Effects of the Non-Compete
                    Agreements Would Be Broadly Experienced By Members of
                    the All-Employee Class and Technical Employee Class
      120.    A firm’s commitment to principles of “internal equity” is evidenced by the
              imposition and maintenance of a somewhat rigid salary structure. What that
              means is that Cold-Calling and related practices would be expected to increase
              compensation across the board rather than be narrowly focused on the skills
              that are most in demand at any point in time.156 As a result, analysis of the
              application of standard economic labor theory to this case constitutes common
              evidence bolstering Plaintiffs’ proof that the Non-Compete Agreements would
              broadly affect members of the All-Employee Class and Technical Employee
              Class. Moreover, economic analysis of Defendants’ salary structures and
              compensation data reveal that each Defendant had a rigid salary structure,


152 See, e.g., INTUIT_039098. (Campbell); 76616DOC005974 and “Google,Board of Directors,”

http://investor.google.com/corporate/board-of-directors.html (Paul Otellini at Intel, who was a Google
Board Member throughout the conspiracy period).
153 See, e.g., ADOBE_025894-898 at 898 (internal discussion in which Adobe considers whether its

employees will want a raise similar to the one Google announced).
154See GOOG-HIGH TECH-00193377-382.


155 See GOOG-HIGH-TECH-00193406-411 at 406

                                                  .”).
156 See eg. GOOG-HIGH TECH-00042588-640 at 633 (Talking about the equity program, “In special cases

and with VP approval, we can exceed target if supported by sound business rationale. In practice, we rarely
deviate from the guidelines given our philosophy around internal equity.”).

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              where compensation of employees within specific positions and within each
              company tended to move together over time through the relevant periods.

      121.    The Class-wide evidence I have reviewed and analyzed shows that Defendants
              had highly structured compensation systems built on a two dimensional matrix
              with several grades and many titles. In many firms, compensation is first and
              foremost linked to the grades, each of which encompasses diverse kinds of
              activities which nonetheless receive roughly the same level of compensation.157
              For example, Defendants Adobe, Apple, Google, Intel, and Intuit used grades
              explicitly and Defendants Pixar and Lucasfilm may have done so as well (though
              their data in this regard was unclear at the time of this Report). The titles
              identify specific activities and defined career paths, as in Software Engineer Step
              1, Software Engineer Step 2, and so on.

      122.    Typically, high level management established ranges of salaries for grades and
              titles which left relatively little scope for individual variation.158 Defendants
              established and regularly updated compensation levels with the following aims:

                a.      Providing similar compensation for all employees in the same
                        employment category,159

                b.      Providing specific relative compensation levels for employees in
                        different, hierarchically ordered, employment categories, or “salary
                        grades,”160

                c.      Retaining employees,161 and

                d.      Maintaining employee productivity and contentment.


157 See e.g., 76512DOC000638-677 at 643 and 656-660.


158 See e.g., 76512DOC000638-677 at 644 (“Use benchmark salary surveys to create criteria on which to

evaluate jobs across Intel”) and GOOG-HIGH TECH-00042588-640 at 612 and 632.
159 PIX00006026-6036 at 034 and GOOG-HIGH TECH-00042588-640 at 643.


160 See e.g., 76512DOC000638-677 at 671 (“                                         ”). See also, GOOG-
HIGH TECH-00028981- 9027 at 9007.
161 GOOG-HIGH-TECH-00036781-839 at 785.



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      123.    An Intel compensation document indicates its policies were aimed toward
              maintaining a salary structure that is consistent with internal equity.162 In a page
              entitled “Internal Equity & Performances Expectations,” in order to preserve
              “internal equity,” managers are to answer three questions when slotting a job
              applicant within the current employees in the group: “How do backgrounds
              compare?”, “How do expertise and skill compare?,” and “Where would the
              manager rank this person within their department based on their expectation of
              the applicant's contribution and job performance?” Each employee, whether
              “technical” or “administrative,” is assigned a “grade” primarily according to
              his/her education and experience. His/her base pay was then set within the
              “grade level.” The range of pay within each level was relatively narrow.163

      124.    An internal Pixar email discussed an across-the-board adjustment for “our
              under paid engineers.” “We want to send a clear message to these engineers
              that we value them at least as much as some new hires who are seeing much
              more competitive offers from other companies.” The email refers to using a
              “leveling matrix” to “give us a consistent framework for evaluating the expected
              contribution of our software engineers.”164

      125.    Google also has policies to ensure that new hires’ salaries are positioned
              correctly relative to others in the firm. When determining base pay for new
              candidates, Google takes into consideration internal equity along with market
              data, candidate grade, current compensation, and competing offers.165
              Additional evidence of compensation equity at work is Google’s response to


162 See 76512DOC000638-677 at 658 (“Offer Development Overview”).


163 See 76579DOC002323 pp. 1-37.


164 PIX00049648-650 at 648. See also ADOBE_019192 (Internal email on meeting with Adobe CEO re:

establishing “salary matrices.” “We need to recommend the matrix . . . that will provide market competitive
base salary adjustments”), GOOG-HIGH TECH-00036716-780 at 729-730 (Presentation on “Google
Compensation Basics” includes section on “job leveling” and “benchmarking”), and 231APPLE009282-283
(Page entitled “Base Salary Structures” appears to show hourly wage ranges for various job codes
                                     ).
165 GOOG-HIGH TECH-00038364-395 at 373, GOOG-HIGH TECH-00037936-973 at 963 and GOOG-

HIGH TECH-00042588-640 at 614.

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              loss of employees to Facebook (described above). The ten percent increase in
              base salary across the board was said to “attract new recruits and preempt
              defections.”166

                         “Reporting from San Francisco — Google Inc.'s
                         decision to give all of its 23,300 employees a 10% pay
                         raise next year — and a $1,000 bonus to boot — is just
                         the latest volley in what has become a full-fledged war
                         for top Silicon Valley talent.”167

      126.    All Defendants offered stock grants or options, and/or bonuses. While inequity
              in this form of compensation could offset pay equity in base compensation,
              stock options and bonuses may be calculated formulaically based on individual
              and company performance in a way that maintains an equitable total
              compensation structure.168 Indeed, stocks or bonuses were granted to the
              majority of employees at all of the Defendants. As shown in Figure 10, 93
              percent of the employee-year169 compensation records included these salary
              supplements.




166 Amir Efrati and Pui-Wing Tam "Google Battles to Keep Talent" Wall Street Journal, November 11, 2010,

http://online.wsj.com/article/SB10001424052748704804504575606871487743724.html
167 Guynn, Jessica, “War heats up for top Silicon Valley talent,” Los Angeles Times, November 10, 2010.


168 See e.g., 76512DOC000638-677 at 668 (“Option run rates typically non-negotiable”). See also,

76512DOC000638-677 at 644, and 656-667.
169 An employee employed in December of a particular year. An employee of a firm for five years (each of

which he was present for December), would have five employee-years.

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             Figure 10: Use of Supplemental Compensation was Widespread

                   Fraction of Employee-years with Bonus or Equity Grants

                                                              Number of
                                  Employer        Mean        Observations
                                    (1)            (2)            (3)

                                   Adobe             0.84            50,862
                                   Apple
                                   Google
                                     Intel
                                    Intuit           0.88            63,700
                                  Lucasfilm          0.51             9,118
                                    Pixar            0.74            12,654
                                      All            0.93           985,428


                           Source: Defendants' employee compensation data.

      127.    Evidence of the structure of compensation in each of ten years from 2001 to
              2011 is reported in the ten regression equations in Figure 11 below.

      128.    Each equation explains the total compensation inclusive of stock grants of each
              salaried employee in terms of a number of basic observable employee
              characteristics such as age, number of months in the company, gender, location,
              title, and employer.170 What these analyses show is that about 90 percent of the
              variability in a class member’s compensation can be explained by these
              variables.171 This and the additional fact that the coefficients in these
              regressions vary slowly over time (meaning the role played by these factors is



170 These types of regressions can be found in many academic studies of wage structure. See e.g., Menezes-

Filho, N. A., Muendler, M., and Garey Ramney. "The Structure of Worker Compensation in Brazil, With A
Comparison To France And The United States." The Review of Economics and Statistics, May 2008, 90(2): 324-
346.
171 Other variables that would have been known to the employee and employer but where not available at all

or for large numbers of employees in the data (such as education) would likely explain substantially more of
the variation.

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                  relatively stable), are symptoms of firmwide compensation structures, and the
                  formulaic way in which total compensation was varied over time.

       Figure 11: Common Factors Identify a Firmwide Compensation Structure
                                                   Hedonic Regressions Of Wage Structure
                                                        All-Salaried Employee Class

 Observation: Employee ID record in December of each year
 Dependant Variable: Log(Total Annual Compensation)

                                            Dec-01                         Dec-02                           Dec-03                          Dec-04
 Variable                          Estimate St. Error T-Value     Estimate St. Error T-Value       Estimate St. Error T-Value      Estimate St. Error T-Value

 Log(Age) (Years)                       0.72     0.08      9.60         1.03      0.08    13.26         0.74      0.08     9.29          1.23    0.08    15.16
 Log(Age)^2                            -0.10     0.01     -9.66        -0.14      0.01   -13.06        -0.09      0.01    -8.62         -0.16    0.01   -14.38
 Log(Company Tenure) (Months)          -0.07     0.00    -17.28        -0.12      0.00   -29.45        -0.02      0.00    -4.88          0.01    0.00     4.99
 Log(Company Tenure)^2                  0.00     0.00      9.38         0.01      0.00    20.40         0.00      0.00     1.70          0.00    0.00    -6.04
 Male                                   0.00     0.00      1.15         0.01      0.00     3.60         0.01      0.00     4.49          0.01    0.00     6.81
 Employer Indicators                   YES                             YES                             YES                              YES
 Location (State Indicators)           YES                             YES                             YES                              YES
 Title Indicators                      YES                             YES                             YES                              YES
 Constant                              YES                             YES                             YES                              YES
 Observation                         64,264                          61,768                          60,764                           62,645
 R-square                              0.95                            0.94                            0.94                             0.93

                                            Dec-05                         Dec-06                           Dec-07                          Dec-08
                                   Estimate St. Error T-Value     Estimate St. Error T-Value       Estimate St. Error T-Value      Estimate St. Error T-Value

 Log(Age) (Years)                       0.77     0.08      9.93         0.96      0.09    11.28         1.25      0.10    12.71          1.13    0.09    13.06
 Log(Age)^2                            -0.09     0.01     -8.74        -0.12      0.01   -10.69        -0.17      0.01   -12.53         -0.15    0.01   -12.59
 Log(Company Tenure) (Months)           0.08     0.00     38.46        -0.03      0.00    -9.31        -0.03      0.00    -9.55          0.02    0.00     6.84
 Log(Company Tenure)^2                 -0.01     0.00    -27.73         0.01      0.00    13.28         0.00      0.00     9.36          0.00    0.00    -3.89
 Male                                   0.01     0.00      9.18         0.02      0.00     9.57         0.01      0.00     4.97          0.01    0.00     8.73
 Employer Indicators                   YES                             YES                             YES                              YES
 Location (State Indicators)           YES                             YES                             YES                              YES
 Title Indicators                      YES                             YES                             YES                              YES
 Constant                              YES                             YES                             YES                              YES
 Observation                         71,768                          72,380                          71,804                           73,897
 R-square                             0.928                           0.923                           0.909                            0.916

                                            Dec-09                         Dec-10                           Dec-11
                                   Estimate St. Error T-Value     Estimate St. Error T-Value       Estimate St. Error T-Value

 Log(Age) (Years)                       1.10     0.09     11.54         0.95      0.10     9.57         0.97      0.08    11.54
 Log(Age)^2                            -0.15     0.01    -11.59        -0.12      0.01    -9.29        -0.13      0.01   -11.19
 Log(Company Tenure) (Months)           0.04     0.00      9.35         0.02      0.00     6.33         0.05      0.00    17.99
 Log(Company Tenure)^2                  0.00     0.00     -3.14         0.00      0.00    -3.29         0.00      0.00    -7.39
 Male                                   0.01     0.00      7.59         0.02      0.00     8.17         0.01      0.00     8.79
 Employer Indicators                   YES                             YES                             YES
 Location (State Indicators)           YES                             YES                             YES
 Title Indicators                      YES                             YES                             YES
 Constant                              YES                             YES                             YES
 Observation                         73,722                          78,673                          88,431
 R-square                             0.922                           0.898                           0.918

                                      Note: (1) Total Annual Compensation is computed as sum of base annual compensation (in December),
                                            overtime pay, bonus, value of equity compensation granted.
                                            (2) Value of equity compensation is computed using the weighted average grant-date fair values
                                            for stock options and restricted stock units from SEC Filings.

                                               Source: Defendants' employee compensation data; SEC Filings.



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    129.   The regressions reported in the figure above are based on data from all
           defendants and presume that each defendant had a similar internal
           compensation system although the “employer effect” allows compensation to
           differ by a fixed percent across firms. Figure 12 shows a summary of the R-
           squared statistic for hedonic regressions performed separately for each
           defendant and year. The R-squared statistic measures the percentage of the
           variability in compensation that is explained by the variables in the model. The
           majority of the R-squared statistics are around 90 percent demonstrating that
           almost the entire variation in salaries within each firm at each point in time can
           be explained by a common set of employee characteristics.

    130.   The fact that nearly all variability in class member compensation at any point in
           time can be explained by common variables means there was a systematic
           structure to employee compensation at each of the Defendant firms. As a
           result, one would expect that significant exogenous factors like the imposition
           of Non-Compete Agreements would be expected to have effects that would be
           felt across a broad swathe of employees. Furthermore, the fact that the
           coefficients in my regressions did not vary substantially over time suggests that
           compensation structures were relatively stable over time. The systematic
           structure and the formulaic way in which compensation changed over time is
           consistent with internal equity considerations as discussed in the economic
           literature. In other words, my regression analyses are capable of showing that
           the compensation of class members tended to move together over time and in
           response to common factors. Accordingly, this evidence, along with my other
           analysis of the economics of Defendants’ compensation, is capable of showing
           that the effects on compensation from the Non-Compete Agreements would be
           expected to be broadly experienced by all or nearly all members of the All-
           Employee Class and Technical Employee Class.




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       Figure 12: Common Factors Explain Within-Firm Compensation Structure

                 Summary of R-squared From Yearly Hedonic Regressions By Defendant
                                    All-Salaried Employee Class

Observation: Employee ID record in December of each year
Dependant Variable: Log(Total Annual Compensation)

    Year            ADOBE              APPLE           GOOGLE               INTEL            INTUIT              PIXAR          LUCASFILM
     (1)               (2)                (3)               (4)                (5)               (6)               (7)                  (8)

    2001                     0.91               0.89              0.93               0.96              0.88               -                    -
    2002                     0.93               0.87              0.94               0.95              0.90              0.84                  -
    2003                     0.92               0.91              0.79               0.96              0.90              0.71                  -
    2004                     0.94               0.91              0.89               0.96              0.89              0.85                  -
    2005                     0.87               0.91              0.80               0.97              0.89              0.83                  -
    2006                     0.94               0.89              0.79               0.97              0.89              0.90                 0.88
    2007                     0.92               0.87              0.75               0.96              0.88              0.92                 0.87
    2008                     0.93               0.87              0.80               0.97              0.88              0.93                 0.92
    2009                     0.88               0.87              0.86               0.96              0.88              0.94                 0.94
    2010                     0.91               0.86              0.77               0.96              0.88              0.93                 0.94
    2011                     0.93               0.86              0.83               0.97              0.88              0.95                 0.94

           Note: Hedonic regressions performed separately for each defendant and year by using
                 log(Total annual compensation) as a dependant variable and the following independent variables:
                  log(age), log(age)2, log(company tenure), log(company tenure)2, male indicator, location indicators, and
                  title indicators. Pixar's R-squared in 2001 is missing due to insufficient observations. Regressions for Lucasfilm
                  were not performed for 2001-2005 due to absence of employee titles in the data.

                                      Source: Defendants' employee compensation data; SEC Filings.



      131.       The Technical Employee Class also has a compensation structure that is
                 captured by the regression equations reported in Figure 13 that apply to
                 employees at all firms and also R-squared statistics for the regressions defendant
                 by defendant as reported in Figure 14.




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           Figure 13: Common Factors Identify a Firmwide Compensation Structure
                                                  Hedonic Regressions Of Wage Structure
                                                   Technical, Creative, and R&D Class

Observation: Employee ID record in December of each year
Dependant Variable: Log(Total Annual Compensation)

                                           Dec-01                         Dec-02                           Dec-03                          Dec-04
Variable                          Estimate St. Error T-Value     Estimate St. Error T-Value       Estimate St. Error T-Value      Estimate St. Error T-Value

Log(Age) (Years)                       0.41     0.12     3.40          0.95      0.12     7.96         0.70      0.12     5.94          1.28     0.12    10.62
Log(Age)^2                            -0.06     0.02    -3.84         -0.13      0.02    -8.19        -0.09      0.02    -5.70         -0.17     0.02   -10.24
Log(Company Tenure) (Months)          -0.07     0.01   -13.28         -0.13      0.01   -23.33         0.01      0.00     2.69          0.04     0.00    10.75
Log(Company Tenure)^2                  0.00     0.00     6.38          0.01      0.00    15.50         0.00      0.00    -5.57         -0.01     0.00   -12.58
Male                                   0.00     0.00     1.46          0.01      0.00     2.32         0.00      0.00     1.54          0.01     0.00     4.23
Employer Indicators                   YES                             YES                             YES                              YES
Location (State Indicators)           YES                             YES                             YES                              YES
Title Indicators                      YES                             YES                             YES                              YES
Constant                              YES                             YES                             YES                              YES
Observation                         33,993                          33,431                          33,072                           32,999
R-square                              0.89                            0.89                            0.88                             0.88

                                           Dec-05                         Dec-06                           Dec-07                          Dec-08
                                  Estimate St. Error T-Value     Estimate St. Error T-Value       Estimate St. Error T-Value      Estimate St. Error T-Value

Log(Age) (Years)                       0.62     0.11     5.57          0.95      0.12     8.16         1.47      0.13    10.89          1.34     0.11    11.86
Log(Age)^2                            -0.07     0.02    -4.84         -0.13      0.02    -7.88        -0.20      0.02   -11.02         -0.18     0.02   -11.65
Log(Company Tenure) (Months)           0.10     0.00    33.58         -0.03      0.00    -6.07        -0.03      0.00    -6.12          0.04     0.00     9.42
Log(Company Tenure)^2                 -0.01     0.00   -26.68          0.00      0.00     7.72         0.00      0.00     5.52          0.00     0.00    -6.98
Male                                   0.01     0.00     5.33          0.02      0.00     7.93         0.01      0.00     3.05          0.02     0.00     7.24
Employer Indicators                   YES                             YES                             YES                              YES
Location (State Indicators)           YES                             YES                             YES                              YES
Title Indicators                      YES                             YES                             YES                              YES
Constant                              YES                             YES                             YES                              YES
Observation                         39,736                          40,458                          41,862                           43,643
R-square                             0.879                           0.870                           0.848                            0.859

                                           Dec-09                         Dec-10                           Dec-11
                                  Estimate St. Error T-Value     Estimate St. Error T-Value       Estimate St. Error T-Value

Log(Age) (Years)                       1.28     0.12    10.56          1.08      0.13     8.45         1.03      0.11     9.79
Log(Age)^2                            -0.18     0.02   -10.84         -0.15      0.02    -8.45        -0.14      0.01    -9.69
Log(Company Tenure) (Months)           0.04     0.00     8.83          0.02      0.00     4.98         0.05      0.00    13.42
Log(Company Tenure)^2                  0.00     0.00    -3.39          0.00      0.00    -2.31         0.00      0.00    -5.61
Male                                   0.02     0.00     6.50          0.02      0.00     7.21         0.02      0.00     7.89
Employer Indicators                   YES                             YES                             YES
Location (State Indicators)           YES                             YES                             YES
Title Indicators                      YES                             YES                             YES
Constant                              YES                             YES                             YES
Observation                         44,839                          48,401                          54,695
R-square                             0.885                           0.841                           0.878

                                     Note: (1) Total Annual Compensation is computed as sum of base annual compensation (in December),
                                           overtime pay, bonus, value of equity compensation granted.
                                           (2) Value of equity compensation is computed using the weighted average grant-date fair values
                                           for stock options and restricted stock units from SEC Filings.

                                              Source: Defendants' employee compensation data; SEC Filings.




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       Figure 14: Common Factors Explain Within-Firm Compensation Structure

                 Summary of R-squared From Yearly Hedonic Regressions By Defendant
                                 Technical, Creative, and R&D Class

Observation: Employee ID record in December of each year
Dependant Variable: Log(Total Annual Compensation)

    Year            ADOBE              APPLE           GOOGLE               INTEL            INTUIT              PIXAR          LUCASFILM
     (1)               (2)                (3)               (4)                (5)               (6)               (7)                  (8)

    2001                     0.86               0.83              0.79               0.92              0.78               -                    -
    2002                     0.91               0.84              0.87               0.90              0.84              0.64                  -
    2003                     0.89               0.87              0.66               0.91              0.86              0.52                  -
    2004                     0.92               0.87              0.83               0.90              0.85              0.67                  -
    2005                     0.89               0.87              0.62               0.94              0.86              0.65                  -
    2006                     0.92               0.84              0.68               0.93              0.85              0.75                 0.86
    2007                     0.88               0.81              0.66               0.93              0.82              0.83                 0.83
    2008                     0.90               0.81              0.68               0.94              0.85              0.86                 0.90
    2009                     0.86               0.80              0.81               0.93              0.86              0.86                 0.92
    2010                     0.87               0.79              0.68               0.94              0.85              0.87                 0.92
    2011                     0.91               0.76              0.76               0.95              0.84              0.87                 0.93

           Note: Hedonic regressions performed separately for each defendant and year by using
                 log(Total annual compensation) as a dependant variable and the following independent variables:
                  log(age), log(age)2, log(company tenure), log(company tenure)2, male indicator, location indicators, and
                  title indicators. Pixar's R-squared in 2001 is missing due to insufficient observations. Regressions for Lucasfilm
                  were not performed for 2001-2005 due to absence of employee titles in the data.

                                      Source: Defendants' employee compensation data; SEC Filings.

      132.       The compensation structure around a common baseline can also be seen by
                 looking at compensation trends of some of the major titles at Defendants.
                 These data use the regressions reported in Figure 12 to control for changes
                 within each title in age, tenure, and location. We refer to these as “constant
                 attribute” compensation.




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      Figure 15: Constant Attribute Compensation of Major Apple Job Titles

                                             Base Salary




                               Source: Defendants' employee compensation data.




                                        Total Compensation




                          Source: Defendants' employee compensation data; SEC filings.




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      Figure 16: Constant Attribute Compensation of Major Google Job Titles

                                              Base Salary




                               Source: Defendants' employee compensation data.



                                       Total Compensation




                          Source: Defendants' employee compensation data; SEC filings.




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    133.   To illustrate this further, Figure 17 depicts salary trends of top titles for Apple.
           Each line represents a single year. The collection of lines indicates that,
           adjusting for compositional changes, the salary ranking of different major titles
           remains quite stable over time. This is symptom of substantial co-movement of
           salaries.

 Figure 17: Constant Attribute Compensation Ranking of Major Apple Job Titles is
                                   Generally Stable




                          Source: Defendants' employee compensation data; SEC filings


    134.   These charts reveal a persistent salary structure across employees consistent
           with important elements of equity in the Defendants’ compensation practices.
           The non-compete-agreements which might tend to focus on subsets of workers
           would nonetheless have effects that would spread across all or almost all
           employees at the firm in order to maintain the overall salary structure.



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              3. Standard Econometric Analysis Is Capable of Showing That the
                  Non-Compete Agreements Artificially Suppressed
                  Compensation to the Members of Each Class Generally
      135.     I have concluded that standard forms of econometric analysis are capable of
               computing the aggregate amount of compensation suppression to the All-
               Employee Class and Technical Employee Class caused by the Non-Compete
               Agreements.

      136.     An estimate of the effect of the Non-Compete Agreements on employee
               compensation can be found by contrasting compensation during the periods
               when the Agreements were in effect with compensation before and after the
               Non-Compete Agreements.

      137.     A search for comparison periods needs to be sensitive to the economic cycle.
               The interval of time for which all the Defendants have produced compensation
               data extends from 2001 to 2011. This ten-year interval includes a mild U.S.
               recession, a severe global recession, two tepid U.S. recoveries and a brief period
               of housing-led high growth. Roughly speaking, we can divide the 2001 to 2011
               period as shown in Figure 18.

                    Figure 18: Growth Cycle Periods for the U.S. Economy

                          Period                           Growth
                             (1)                               (2)
                               2001    Mild US recession
                        2002 - 2003    Tepid recovery
                        2004 - 2005    Housing led growth
                        2006 - 2007    Weakening¬ growth from weakening¬ housing
                        2008 - 2009    Severe global recession
                        2010 - 2011    Tepid recovery

      138.     Figure 19 reports the average percent change by year in total compensation for
               all seven Defendants.172 Total compensation is the sum of December base




172 In addition to the mean, the table includes the median, the 90th percentile, the standard deviation and the

number of observations.

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                 salary bonuses, overtime and equity compensation. Observations are restricted
                 to cases in which there was no change in employer.

     139.        The year 2002 in the wake of the 2001 recession has a large 4.7 percent decline
                 in average total compensation and that was followed by another 2.3 percent
                 decline in 2003. Circumstances for employees improved dramatically in 2004
                 with an average 10.3 percent increase in total compensation. Next comes the
                 out-of-place small 0.5 percent increase in 2005, coincident with the start of the
                 Non-Compete Agreements. Subsequently the average gains in compensation
                 fluctuated between 6 percent and 9 percent, with the value of 6.8 percent in
                 2008 in the midst of the severe global recession.

                  Figure 19: Average Percent Change in Total Compensation
                                             Change in Total Compensation                          Estimated Underpayment
               Number of
  Year         Employees        Mean            Median        90th Percentile    Std. Dev.          Initial1    Cumulative
                  (1)             (2)              (3)              (4)              (5)              (6)           (7)


   2002            58,465         (4.7)%           (1.5)%           10.2 %           19.5 %
   2003            58,176         (2.3)            (0.0)            13.2             19.9
   2004            57,835         10.3             11.5             22.9             18.7
   2005            59,494          0.5              0.2             14.7             20.3              (9.5)%        (9.5)%
   2006            64,620          9.1              8.8             24.7             23.3              (0.9)        (10.3)
   2007            64,680          7.4              4.3             26.8             26.0              (2.6)        (12.9)
   2008            66,055          6.8              8.9             23.1             25.7               0.0         (12.9)
   2009            69,178          7.4              2.8             34.9             24.4               0.0         (12.9)
   2010            69,727          6.5              8.0             22.9             22.7
   2011            74,989          9.7              7.6             29.4             23.5
Average                            5.1 %            5.1 %           22.3 %           22.4 %

           1
             Calculated as the average change in total compensation for the year minus the average changes
            in total compensation in 2004 and 2011.

    Notes: (1) Change in compensation measured only on employees that did not switch jobs from previous year
           (2) Total compensation measured as base salary as of December plus annual bonuses, overtime compensation,
             and stock options and restricted stock awards.

                                Source: Defendants' employee compensation data; SEC filings.

     140.        Before undertaking a formal regression analysis of damages, we can use these
                 annual numbers to do a preliminary informal impact assessment. The impact is
                 suggested by comparing what was happening during the agreement period with

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           what was happening in relevant periods before and after. The years 2004 and
           2011 arguably are useful before and after comparisons since these reveal the
           kind of compensation increases that occur in expansion periods that were
           similar to 2005-2007. The “during” years 2008 and 2009 were severe recession
           years for which there may be no relevant direct comparisons. The column
           labeled “Estimated Underpayment” has values in 2005-2007 equal to the
           difference between the percent increase in total compensation that actually
           occurred minus the average of total compensation in 2004 and 2011. This same
           column has zero values for 2008 and 2009, built on the idea that the weak
           economy would not have resulted in increases in those periods. The last
           column cumulates these effects to find the total impact year by year. A large
           impact on compensation comes in 2005 since that 0.5 percent actual change in
           average total compensation translates into a 9.5 percent undercompensation.
           The under-compensation cumulates to 12.9 percent in 2009.

    141.   While the results in Figure 19 are suggestive, they rely on informal choices of
           comparison period, and they do not make any distinctions among the
           defendants. Regression analysis is a better approach because it allows the choice
           of comparison period to be “constructed” statistically, and it allows for
           differences among defendants as well as for employees. Figure 20 reports a
           regression equation which explains the logarithm of total compensation at the
           individual level with a variety of individual, firm and temporal effects. The
           variables are defined in Figure 21 and the implied effects of the agreements on
           total compensation are recorded in Figure 22.

    142.   The variables in the regression in Figure 20 are divided by solid borders into five
           principle categories:

               x    Conduct Effects: How the Agreements affected total compensation
                    and how the effects vary across time, firms and individuals,

               x    Persistence: How the effects linger over time,

               x    Worker Effects: How compensation normally varies across workers,

               x    Industry Effects: How compensation normally varies over time, and

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               x    Employer Effects: How compensation normally varies across firms.

    143.   The worker variables are age, company tenure, and gender. The variables that
           drive the temporal changes are rate of growth of payroll jobs in information in
           Santa Clara County, the number of new employees hired by all defendants, the
           number of workers who moved between Defendants and a time trend. The
           effects that vary across employers are global revenue relative to the global
           workforce and the rate of growth thereof, the number of new workers hired
           relative to the previous year’s workforce, and indicators that allow for distinct
           differences in compensation for each employer.

    144.   The persistence variables are the levels of total compensation in the previous
           year and the year before that, two for each employer. The fact that these
           numbers sum to around 90 percent indicates very persistent effects, meaning
           when a worker gets a bump up in compensation in some year that makes him or
           her better off than comparable coworkers, that effect lingers on for many years.

    145.   The CONDUCT variable measures the fraction of months in each year during
           which the employer was involved in one or more of the agreements. The
           conduct variable is interacted with three variables to allow for the possibility
           that the agreements had effects that varied over time, across firms and across
           individuals.

    146.   This regression model can be used to estimate the undercompensation year by
           year, employer by employer, reported in Figure 22. The part of the estimated
           regression that involves the CONDUCT variable is used to estimate the
           immediate impact of the illegal CONDUCT. These immediate impacts are
           propagated over time as implied by the dynamic structure of the model
           determined by the coefficients on the once-lagged and twice-lagged total
           compensation explanatory variables that follow the CONDUCT variables in the
           regression. The totals of the direct and secondary effects of the agreements on
           total compensation by year and by defendant are reported in Figure 22.




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            Figure 20: Regression Estimate of Undercompensation to Class
                                                         All-Salaried Employee Class

       Observation: Employee ID record in December of each year
       Dependant Variable: Log(Total Annual Compensation/CPI)

                                            Variable                                               Estimate              St. Error          T-Value
                                                                                                       (1)                   (2)               (3)
                                                                                                                                             (1)/(2)


     1. Conduct * Age                                                                                    0.0067 ***            0.0005          14.1138
     2. Conduct * Age^2                                                                                 -0.0001 ***            0.0000         -14.0235
     3. Conduct * Log(Number of New Hires In the Firm/Number of Employees(-1))                           0.0028 ***            0.0008           3.6947
     4. Conduct                                                                                         -0.1647 ***            0.0100         -16.5007
     5. ADOBE * Log(Total Annual Compensation/CPI) (-1)                                                  0.6949 ***            0.0054         127.9743
     6. APPLE * Log(Total Annual Compensation/CPI) (-1)                                                  0.7404 ***            0.0027         278.6889
     7. GOOGLE * Log(Total Annual Compensation/CPI) (-1)                                                 0.4945 ***            0.0017         291.4208
     8. INTEL * Log(Total Annual Compensation/CPI) (-1)                                                  0.6690 ***            0.0024         282.4408
     9. INTUIT * Log(Total Annual Compensation/CPI) (-1)                                                 0.7090 ***            0.0058         123.0243
    10. PIXAR * Log(Total Annual Compensation/CPI) (-1)                                                  0.6944 ***            0.0069         100.1556
    11. LUCASFILM * Log(Total Annual Compensation/CPI) (-1)                                              0.8131 ***            0.0363          22.4035
    12. ADOBE * Log(Total Annual Compensation/CPI) (-2)                                                  0.2963 ***            0.0053          55.9130
    13. APPLE * Log(Total Annual Compensation/CPI) (-2)                                                  0.2610 ***            0.0027          95.3635
    14. GOOGLE * Log(Total Annual Compensation/CPI) (-2)                                                 0.3732 ***            0.0016         228.3877
    15. INTEL * Log(Total Annual Compensation/CPI) (-2)                                                  0.3001 ***            0.0023         130.2277
    16. INTUIT * Log(Total Annual Compensation/CPI) (-2)                                                 0.2551 ***            0.0056          45.7056
    17. PIXAR * Log(Total Annual Compensation/CPI) (-2)                                                  0.1983 ***            0.0067          29.5094
    18. LUCASFILM * Log(Total Annual Compensation/CPI) (-2)                                              0.1779 ***            0.0367           4.8520
    19. Log(Age) (Years)                                                                                -0.3591 ***            0.0415          -8.6468
    20. Log(Age)^2                                                                                       0.0394 ***            0.0056           6.9805
    21. Log(Company Tenure) (Months)                                                                     0.0107 **             0.0050           2.1371
    22. Log(Company Tenure)^2                                                                           -0.0012 **             0.0006          -2.1619
    23. Male                                                                                             0.0027 ***            0.0005           4.9116
    24. DLog(Information Sector Employment in San-Jose)                                                  1.4353 ***            0.0147          97.4954
    25. Log(Total Number of Transfers Among Defendants)                                                  0.0961 ***            0.0015          63.7243
    26. Year (trend)                                                                                    -0.0038 ***            0.0003         -14.3189
    27. Log(Number of New Hires In the Firm/Number of Employees(-1))                                     0.0154 ***            0.0009          16.6057
    28. Log(Total Number of New Hires)                                                                  -0.2485 ***            0.0021        -116.9807
    29. Log(Firm Revenue Per Employee/CPI) (-1)                                                         -0.1070 ***            0.0035         -30.1447
    30. DLog(Firm Revenue Per Employee/CPI) (-1)                                                         0.2170 ***            0.0033          66.3627
    31. APPLE                                                                                            0.0627 ***            0.0162           3.8765
    32. GOOGLE                                                                                           1.0364 ***            0.0174          59.6506
    33. INTEL                                                                                            0.1522 ***            0.0146          10.4453
    34. INTUIT                                                                                           0.1462 ***            0.0193           7.5835
    35. LUCASFILM                                                                                        0.1352 ***            0.0481           2.8127
    36. PIXAR                                                                                            0.7251 ***            0.0422          17.1808
    37. Location (State) Indicators                                                                        YES
    38. Constant                                                                                           YES
       R-Square                                                                                          0.926
       Observations                                                                                    504,897

               Note: (1) *** Significant at 1% level; ** Significant at 5% level; * Significant at 10% level.
                     (2) Total Annual Compensation is computed as sum of base annual compensation (in December),
                     overtime pay, bonus, and value of equity compensation granted.
                     (3) Value of equity compensation is computed using the weighted average grant-date fair values for stock options and
                     restricted stock units from SEC Filings.
                     (4) Firm Revenue Per Employee is computed as a ratio of global revenue to global number of
                     employees, both obtained from SEC Filings. Lucasfilm revenues were obtained from PrivCo and public sources.
                     (5) Observations are restricted to cases in which there was no change in employer in the previous two years.

               Source: Defendants' employee compensation data; St. Louis Fed Reserve; SEC Filings; PrivCo and public sources.


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                                         Figure 21: Data Definitions
                         Variable                                                   Description
                            (1)                                                          (2)


 1.   Total Annual Compensation                      Sum of base annual salary as of December, total bonuses, overtime
                                                     amount and equity compensation received in the year
 2.   CPI                                            U.S. Consumer Price Index (St. Louis Federal Reserve)
 3.   Conduct                                        Indicator defined as a fraction of the year the defendant
                                                     had an active cold-calling agreement
 4.   Age                                            Age of the employee in years
 5.   Number of New Hires In the Firm                Number of employees newly hired in the year (i.e. not counting
                                                     individuals who might have been previously employed in the company)
 6.   Company Tenure                                 Number of months an employee has been affiliated with the company
 7.   Male                                           Indicator for male employees
 8.   Information Sector Employment in San Jose      Employment in San Jose/Santa Clara Valley in the Information Sector
                                                     (St. Louis Federal Reserve)
 9.   Total Number of Transfers Among Defendants     Total number of employees who moved from one defendant
                                                     to another in the year
10.   Total Number of New Hires                      Total number of original employees hired by all defendants in the year
11.   Firm Revenue Per Employee                      Global revenue of the company divided by global employment
                                                     in the company (SEC Filings; PrivCo; and public sources)

                  Figure 22: Estimated Impact on Class Total Compensation

                                  Annual Undercompensation Percentages
                                       All-Salaried Employee Class

             ADOBE          APPLE         GOOGLE          INTEL             INTUIT             LUCASFILM           PIXAR

2005         -1.61%         -1.59%          -1.78%         -1.67%                               -12.13%           -10.56%
2006         -4.28%         -4.43%          -4.44%         -4.70%                               -14.63%           -12.44%
2007         -6.64%         -6.94%          -6.39%         -7.46%           -3.24%              -17.24%           -14.28%
2008         -9.08%         -9.56%          -8.40%        -10.05%           -5.64%              -19.94%           -15.76%
2009         -9.15%         -9.73%          -7.51%         -9.95%           -5.70%              -20.12%           -14.65%

             Source: Regression Estimates of Undercompensation to All-Salaried Employee Class.




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    147.   I performed the same analysis for the set of employees in the Technical
           Employee Class. The regression model for this Technical Employee Class is
           reported in Figure 23 and the corresponding damage estimates in Figure 24.




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Figure 23: Regression Estimate of Undercompensation to Technical Employee Class
                                                    Technical, Creative and R&D Class

       Observation: Employee ID record in December of each year
       Dependant Variable: Log(Total Annual Compensation/CPI)

                                            Variable                                               Estimate              St. Error          T-Value
                                                                                                       (1)                   (2)               (3)
                                                                                                                                             (1)/(2)


     1. Conduct * Log(Age)                                                                               0.0079 ***            0.0007          11.6667
     2. Conduct * Log(Age)^2                                                                            -0.0001 ***            0.0000         -11.4844
     3. Conduct * Log(Number of New Hires In the Firm/Number of Employees(-1))                          -0.0121 ***            0.0010         -11.5872
     4. Conduct                                                                                         -0.2196 ***            0.0140         -15.6471
     5. ADOBE * Log(Total Annual Compensation/CPI) (-1)                                                  0.6744 ***            0.0073          92.4832
     6. APPLE * Log(Total Annual Compensation/CPI) (-1)                                                  0.7234 ***            0.0037         197.6595
     7. GOOGLE * Log(Total Annual Compensation/CPI) (-1)                                                 0.4367 ***            0.0022         200.6585
     8. INTEL * Log(Total Annual Compensation/CPI) (-1)                                                  0.6401 ***            0.0030         215.3504
     9. INTUIT * Log(Total Annual Compensation/CPI) (-1)                                                 0.6703 ***            0.0085          79.1708
    10. PIXAR * Log(Total Annual Compensation/CPI) (-1)                                                  0.6491 ***            0.0106          61.3919
    11. LUCASFILM * Log(Total Annual Compensation/CPI) (-1)                                              0.8462 ***            0.0692          12.2257
    12. ADOBE * Log(Total Annual Compensation/CPI) (-2)                                                  0.3053 ***            0.0071          42.7525
    13. APPLE * Log(Total Annual Compensation/CPI) (-2)                                                  0.2538 ***            0.0038          67.0286
    14. GOOGLE * Log(Total Annual Compensation/CPI) (-2)                                                 0.3659 ***            0.0021         174.3271
    15. INTEL * Log(Total Annual Compensation/CPI) (-2)                                                  0.3179 ***            0.0029         110.4491
    16. INTUIT * Log(Total Annual Compensation/CPI) (-2)                                                 0.2857 ***            0.0082          34.8914
    17. PIXAR * Log(Total Annual Compensation/CPI) (-2)                                                  0.1045 ***            0.0097          10.8013
    18. LUCASFILM * Log(Total Annual Compensation/CPI) (-2)                                              0.1448 **             0.0693           2.0884
    19. Log(Age) (Years)                                                                                -0.5894 ***            0.0588         -10.0182
    20. Log(Age)^2                                                                                       0.0696 ***            0.0080           8.7006
    21. Log(Company Tenure) (Months)                                                                     0.0297 ***            0.0068           4.3581
    22. Log(Company Tenure)^2                                                                           -0.0025 ***            0.0008          -3.3821
    23. Male                                                                                             0.0065 ***            0.0008           7.8837
    24. DLog(Information Sector Employment in San-Jose)                                                  1.4378 ***            0.0204          70.3710
    25. Log(Total Number of Transfers Among Defendants)                                                  0.0973 ***            0.0020          47.5566
    26. Year (trend)                                                                                    -0.0008 **             0.0004          -2.1643
    27. Log(Number of New Hires In the Firm/Number of Employees(-1))                                     0.0240 ***            0.0013          18.6766
    28. Log(Total Number of New Hires)                                                                  -0.2720 ***            0.0029         -92.8937
    29. Log(Firm Revenue Per Employee/CPI) (-1)                                                         -0.0661 ***            0.0049         -13.4914
    30. DLog(Firm Revenue Per Employee/CPI) (-1)                                                         0.2068 ***            0.0044          46.8319
    31. APPLE                                                                                            0.1220 ***            0.0245           4.9879
    32. GOOGLE                                                                                           1.3682 ***            0.0259          52.7958
    33. INTEL                                                                                            0.1569 ***            0.0219           7.1705
    34. INTUIT                                                                                           0.1393 ***            0.0315           4.4202
    35. LUCASFILM                                                                                        0.0127                0.1037           0.1226
    36. PIXAR                                                                                            1.5864 ***            0.0771          20.5741
    37. Location (State) Indicators                                                                        YES
    38. Constant                                                                                           YES
       R-Square                                                                                          0.874
       Observations                                                                                    292,489

               Note: (1) *** Significant at 1% level; ** Significant at 5% level; * Significant at 10% level.
                     (2) Total Annual Compensation is computed as sum of base annual compensation (in December),
                     overtime pay, bonus, and value of equity compensation granted.
                     (3) Value of equity compensation is computed using the weighted average grant-date fair values for stock options and
                     restricted stock units from SEC Filings.
                     (4) Firm Revenue Per Employee is computed as a ratio of global revenue to global number of
                     employees, both obtained from SEC Filings. Lucasfilm revenues were obtained from PrivCo and public sources.
                     (5) Observations are restricted to cases in which there was no change in employer in the previous two years.

               Source: Defendants' employee compensation data; St. Louis Fed Reserve; SEC Filings; PrivCo and public sources.


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     Figure 24: Estimated Impact on Technical Employee Class Total Compensation



                           Annual Undercompensation Percentages
                             Technical, Creative and R&D Class

          ADOBE          APPLE     GOOGLE         INTEL       INTUIT      LUCASFILM        PIXAR

2005          -1.56%     -1.90%      -3.07%       -1.64%                    -10.80%         -9.28%
2006          -4.29%     -4.96%      -7.23%       -3.06%                    -14.77%        -10.47%
2007          -6.48%     -7.79%      -9.36%       -3.38%       -3.41%       -18.08%        -10.61%
2008          -8.80%    -10.64%     -11.20%       -4.76%       -5.21%       -20.44%        -11.87%
2009          -8.44%    -10.51%      -9.00%       -4.19%       -4.96%       -20.54%         -9.62%

       Source: Regression Estimates of Undercompensation to Technical, Creative, and R&D Class.




       148.     Accordingly the undercompensation figures resulting from the estimation of
                this econometric model of employee compensation (as reported in Figure 22
                and Figure 24 can be used in a straightforward formulaic fashion in conjunction
                with the All-Employee Class and Technical Employee Class compensation data
                (as reported in Figure 3 and Figure 4) to calculate damages for employees in
                either the All-Employee Class or the Technical Employee Class.

V.      Conclusion
       149.     I therefore conclude that common proof, in the form of documents, data,
                economic theory, and statistical methodologies, is capable of demonstrating that
                the Non-Compete Agreements artificially suppressed compensation of all or
                nearly all members of the All-Employee Class and Technical Employee Class. I
                conclude further that reliable econometric methods are capable of computing



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    APPENDIX A. Defendant Data Relied Upon

          A. Description of Data Requested and Produced
      150.     Defendants produced two types of data: employee compensation and hiring and
               recruiting data. Employee compensation data contains compensation
               information for salaried employees that were active during the period of January
               1, 2001 through February 1, 2012 at each defendant.173 Hiring and recruiting
               data contains job applicant information for all potential candidates during the
               period of January 1, 2001 through February 1, 2012 for each defendant.

             1. Employment Data
      151.     Plaintiffs requested each defendant produce compensation histories for all
               salaried employees that were active during the period of January 1, 2001 through
               February 1, 2012. The information requested includes personal information (an
               encrypted social security number allowing employees to be matched across
               defendants, hire date, previous employer information, birth year, gender,
               education level, and channel of hiring) and on-going job information (job title
               and level, salary, bonus awards, benefits, stock option grants, office location,
               and manager ID). Additionally plaintiffs requested employee information that
               identifies drivers of compensation (information regarding changes in titles or
               jobs within a company) and exit information for employees that were
               terminated.

             2. Recruiting Data
      152.     Plaintiffs requested each defendant produced recruiting data for the period of
               January 1, 2001 through February 1, 2012. The information contained in the
               recruiting data should consist of application date, applicant’s resume
               information (employer, job title, and education level), the source through which




173 Employees can be “exempt” or “non-exempt”. See e.g., 76512DOC000638-677 at 641. Exempt workers

are salaried and generally not entitled to overtime pay. They generally have advanced professional training or
a degree. Class members are salaried and so are generally exempt.

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              the application originated (cold called by recruiter, applied on website, etc.), and
              outcome (hired, rejected, etc.).

      153.    Additionally, plaintiffs requested that defendants provide detailed Cold-Calling
              data for the period of January 1, 2001 through February 1, 2012. The
              information contained in the Cold-Calling recruiting data should consist of a
              unique identifier for each candidate contacted, date of contact, and candidate’s
              resume information (employer, job title, education level, experience), the source
              through which the application originated (cold called by recruiter, applied on
              website, etc.), and outcome (hired, rejected, etc.). Though some defendants
              have produced some of their candidate tracking information, they have yet to
              produce enough information to determine Cold-Calling activities.

          B. Datasets Created for Analysis
      154.    Compensation data from all defendants was cleaned and processed in order to
              generate a Master Employee dataset with monthly compensation and employee
              information for 2001 - 2012. The information included in the master dataset
              includes each person’s hashed SSN, employer and job title for each month in
              2001-2012 for which a person is employed by one of the defendants, person’s
              information (age, gender), original and current hire dates, termination dates,
              tenure of employment, annual performance evaluation score, dates of changes
              in salary and title, previous employer information, department, job grade and
              job family information, leave of absence dates, annualized base compensation,
              bonus compensation, stock options and equity compensation,174 overtime
              compensation for non-exempt employees, and employee status identifiers
              (FLSA status, part time and full time identifiers, temporary employee identifiers,
              etc.).




174 To compute employee stock compensation, the ‘Weighted average grant date fair value’ for stock options

and restricted stock as reported by the defendants in their annual SEC filings was multiplied by the number of
options or restricted stock units granted to the employee.

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   APPENDIX B. Definition of the Technical Employee Class
    155.   I was asked to identify employees that fit with in Technical Employee Class,
           defined to include all full-time salaried employees of Defendants during the
           period of the alleged agreements (see Figure 1) that worked in technical,
           creative, and research & development positions. The following job descriptions
           were included within this Technical Employee Class :

               1.    Software Engineers,

               2.    Hardware Engineers and Component Designers,

               3.    Application Developers,

               4.    Programmers,

               5.    Product Developers,

               6.    User Interface or User Experience Designers,

               7.    Quality Analysts,

               8.    Research and Development,

               9.    Animators, Digital Artists, Creative Directors and Technical Editors,

               10.   Graphic Designers and Graphic Artists,

               11.   Web developers,

               12.   IT professionals,

               13.   Systems engineers and administrators, and

               14.   Employees classified as technical professionals by their employers.

      The Technical Employee Class does not include the following types of employees:

               1.    Non-technical employees (marketing, accounting, finance, operations,
                     etc.)

               2.    Senior executives,

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                3.        Non-US employees,

                4.        Network administrators,

                5.        Systems support/maintenance personnel,

                6.        Facilities maintenance employees, or

                7.        Manufacturing technicians.

     156.     Several defendants provided a “Job Family” designation with their employment
              data. The majority of class members fall under the job families listed in Figure
              25 below.

Figure 25: Adobe, Apple, Google, Intel, and Intuit Creative, Technical, and R&D Job
                                         Families
  Adobe      Apple           Google                                 Intel                            Intuit

RSCH & DEV   IS&T    ADSALES_CSE                CAD ENGINEERING                          APPLICATIONS
             R&D     ENG_DEV_ADV                COMPONENT DES ENGINEERING                CREATIVE DESIGN
                     ENG_MEMBER                 ELECTRONIC ENGINEERING                   DATA ADMIN-ANALYST
                     ENG_PROG                   ENGINEERING                              DATABASE ADMINISTRATION
                     ENG_RES                    ENGINEERING MANAGEMENT                   DESKTOP SYSTEMS
                     ENG_SOFT                   HARDWARE ENGINEERING                     DEVELOPMENT MANAGEMENT
                     ENG_SOFT_MGR               INFORMATION DATA ANALYSES                DOCUMENTATION
                     ENG_SQAE                   INFORMATION NETWORKS                     INFORMATION SECURITY
                     ENG_SRE_SWE                INFORMATION SERVICES                     INFORMATION TECHNOLOGY
                     ENG_SRE_SYSADMIN           INFORMATION TECH MANAGEMENT              INTERACTION DESIGN
                     ENG_TECH_WRITERS           MASK DESIGN                              IT
                     ENG_TECHPROG               MECHANICAL ENGINEERING                   IT MANAGEMENT
                     ENG_UI                     MKTG ENGINEERING MANAGEMENT              NETWORK ADMINISTRATION
                     ENG_USAB                   PROCESS ENGINEERING                      NETWORK ENGINEERING
                     ENT_ESO                    PRODUCT ENGINEERING                      PRODUCT DEVELOPMENT MGMT
                     ENT_SE                     PROGRAMMING                              PRODUCT MANAGEMENT
                     MKTG_CREATIVE              PROJ/PROG MANAGEMENT                     QA ENGINEERING
                     ONLINE_SALES_TECH_OPS      QUALITY ENGINEERING                      SCM ENGINEERING
                     OPS_DCFAC_ENG              RESEARCH & DEVELOPMENT                   SOFTWARE ENGINEERING
                     OPS_NET                    RESEARCH ENGINEERING                     SOFTWARE QA ENGINEERING
                     OPS_SYS                    SOFTWARE ENGINEERING                     SYSTEMS
                     OPS_TECH                   SYSTEMS ENGINEERING                      USER INTERFACE DESIGN
                     SALES_ENG                  SYSTEMS SUPPORT                          WEB DEVELOPMENT
                     SALES_TSE                  TECH                                     WEB ENGINEERING
                                                TECH MARKETING ENGINEERING               WEB PRODUCTION
                                                TECHNICAL
                                                TECHNICAL WRITING
                                                TEST ENGINEERING

                                      Source: Defendants' employee compensation data


     157.     There are additional Technical Employee Class members who fall under other
              categories. Additional criteria were taken to select class titles:

                                                                                                                Page 75

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               a. Adobe
                      Employees classified by Adobe as “Technical
                      Professionals” based on the field “AAP Code
                      Description” in its compensation data as well as the
                      “Business Unit” and “Function Name” fields were
                      included in the Technical Employee Class.175

               b. Apple
                      Non-facilities engineers, web developers, graphic
                      designers, and other technical titles not classified as part
                      of the R&D or IS&T job families were included in the
                      Technical Employee Class. All R&D and IS&T support
                      titles (librarian, technicians, etc.) were excluded.

               c. Google
                      Google identifies technical employees by job grade levels
                      beginning with “T”.176 Additionally, technical employees
                      in operating and support fields such as IT, Systems, as
                      well as web designers, application developers and other
                      creative and technical roles were included in the
                      Technical Employee Class. Excluded from the Technical
                      Employee Class were support roles (e.g., tech support
                      and desktop support).

               d. Intel
                      Intel identifies technical employees through their job
                      families.    Additional job families included in the
                      Technical Employee Class were all non-facilities
                      engineering job families, as well as graphic and web
                      design and developer families. Excluded were non-
                      technical roles as well as manufacturing technicians and
                      machinery operators.


175 See Adobe compensation data (FY2001_HighlyConfidentialAEO-FY2012_HighlyConfidentialAEO).


176 GOOG-HIGH TECH-00057189.



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                e. Intuit
                         Intuit identifies technical employees through their job
                         families.    Additional job families included in the
                         Technical Employee Class were all software engineering
                         and application developer families, non-facilities
                         engineering job families, as well as graphic and web
                         design and developer families. Excluded were non-
                         technical roles as well system support and technician
                         roles.

                f. Lucasfilm and Pixar
                         Neither Lucasfilm nor Pixar provided job families to
                         identify creative, R&D, and technical employees. For
                         both cases, class members were selected on the basis of
                         their job titles.177 Employees were identified as Technical
                         Employee Class members if their titles identified them as
                         Animators, Artists, Software Engineers, Engineers,
                         Scientists, Researchers, R&D professionals, Technical
                         Directors, Designers, Modelers, or IT and Systems staff.
                         Excluded from the list were videographers, camera
                         operators, technicians and system support employees.
                         Lucasfilm employees prior to 2006, for whom we are
                         missing job title information, are identified as being in
                         the Technical Employee Class if their titles in the 2006-
                         2012 compensation data are flagged as Technical
                         Employee Class titles.




177 Pixar did provide department information that groups technical roles such as the Studio Tools group, the

Systems group, and others as well.

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